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                       NO. 3:23‐CV‐126‐CWR‐ASH

       DESMOND D. GREEN,
                                                            Plaintiff,

                                     v.

       DETECTIVE JACQUELYN THOMAS, ET AL.,
                                                         Defendants.
                          ____________________

                   ORDER DENYING QUALIFIED IMMUNITY
                          ____________________

          Before CARLTON W. REEVES, District Judge.
       For nearly two years, the State of Mississippi falsely accused
       Desmond Green of capital murder. A detective used a lying,
       drug‐impaired jailhouse informant to lock Green up. The de‐
       tective also steered the informant to select Green’s face from
       a photo lineup. It was a horrifying wrong.
       Compounding Green’s suffering was another horror. The jail
       he was held in was full of violence, rodents, and moldy food.
       He says there was “constant yelling, fighting, and threats.”
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       Green “often did not have a mattress, or even a pad, to sleep
       on, and slept on the floor.” He “constantly feared for his life.”
       The informant eventually recanted. The State then dropped
       the charges. But the ordeal cost Green almost two years of his
       life.
       Green filed this lawsuit to seek justice for those two wrongs—
       his prosecution and conditions of confinement. He has sued
       the detective who locked him up, her employer (the City of
       Jackson, Mississippi), and the operator of the Hinds County
       Detention Center (Hinds County, Mississippi).
       Green is now on the precipice of being wronged a third time.
       Not by a rogue officer or jailer, but by the law itself. Because
       the detective says the legal doctrine of qualified immunity re‐
       quires the Court to dismiss Green’s claims against her.
       Qualified immunity was invented by the Supreme Court in
       1967. In plain English, it means persons wronged by govern‐
       ment agents cannot sue those agents unless the Supreme
       Court previously found substantially the same acts to be un‐
       constitutional. See Mullenix v. Luna, 577 U.S. 7, 11‐12 (2015). A
       cynic might say that with qualified immunity, government
       agents are at liberty to violate your constitutional rights as
       long as they do so in a novel way.1
       Most plaintiffs in this situation argue that the officer that
       wronged them isn’t entitled to qualified immunity. Green
       does that. Unlike others, though, he has taken the next step
       and argued that qualified immunity is itself unlawful. He
       joins lawyers, professors, judges, and even Supreme Court


       1 It’s actually worse. See infra p. 46 (citing District of Columbia v. Wesby, 138

       S. Ct. 577, 591 n.8 (2018)).


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       Justices who have called for the doctrine’s re‐evaluation, if not
       its abolition.
       The Court agrees with these calls for change. Congress’s in‐
       tent to protect citizens from government abuse cannot be
       overridden by judges who think they know better. As a doc‐
       trine that defies this basic principle, qualified immunity is an
       unconstitutional error. It is past time for the judiciary to cor‐
       rect this mistake.
       The Court presents Green’s allegations, the governing legal
       standards, and the substantive case law below. It concludes
       that the detective is not entitled to qualified immunity. Her
       actions violated clearly‐established law. Even if this were not
       the case, the detective’s quest would fail. For qualified im‐
       munity has no basis in law. It is an extra‐constitutional affront
       to other cherished values of our democracy.
       The detective’s motion to dismiss is therefore denied.
                   I.     Factual and Procedural History
       The following allegations are drawn from Green’s complaint,
       its attachments, and the documents it references. Brand Cou‐
       pon Network, L.L.C. v. Catalina Mktg. Corp., 748 F.3d 631, 635
       (5th Cir. 2014). At this stage of litigation, his allegations must
       be taken as true. Id. at 634.
       On February 13, 2020, someone shot Nicholas Robertson in
       Jackson, Mississippi. A wounded Robertson knocked on the
       door of Avery Forbes. The police report says Robertson was
       conscious and spoke to Forbes. By the time the police arrived,
       however, Robertson was unresponsive. He died in Forbes’
       home.




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       Two months later, law enforcement arrested Samuel Jennings
       for burglary and grand larceny. He was jailed at the Hinds
       County Detention Center. While there, Jennings provided a
       statement about the Robertson murder to Jackson Police De‐
       partment (JPD) Detective Jacquelyn Thomas.
       Jennings handwrote his statement on a JPD form. It read,
               I had gotten out the hospital and was laying in the
               bed back in the Shed Desmond green [undeciphera‐
               ble] had walked in not know i was in there and
               started aplozing for what had happen to twon about
               him shooting Nick Robertson said him and Chris
               Martin and Brandon Simrall had took body from
               thresa to flower and dropped of the body Desmond
               green told me out Loud he shot nick Robertson
               (bubba)
               Samuel Jennings
               4‐10‐20
       Jennings and Detective Thomas signed the statement.2
       The accusation came as a surprise to Green. He says he didn’t
       know Robertson, much less shoot him and move his body.
       With this uncorroborated statement, however, in July 2020
       Detective Thomas and local prosecutors got a grand jury to
       indict Green for capital murder.3



       2 Part of Jennings’ signature block is redacted. We do not know why.

       3 Because grand jury proceedings are secret, “allegations about what was

       presented or omitted in the grand jury room will in some sense be specu‐
       lative.” Wilson v. Stroman, 33 F.4th 202, 212 (5th Cir. 2022). This reality is
       discussed in detail below.


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       Green was arrested and detained in the Hinds County Deten‐
       tion Center. He remained there, awaiting trial, in an “inhu‐
       mane” facility he claims was infested with rodents and
       snakes, where his cell mate was stabbed, where his food was
       moldy and stale, where he often had to sleep on the cell floor,
       and where he lived amidst constant violence, yelling,
       fighting, and fear. More than a year passed.
       Jennings finally recanted in March 2022. He told public de‐
       fenders and their investigator that he was drug‐impaired
       when he accused Green of murder. He admitted that his state‐
       ment was baseless, blamed his lie on meth abuse, and said he
       didn’t know who killed Robertson.
       A written statement memorialized Jennings’ recantation. In it,
       Jennings swore under oath that he “never heard desmond”
       confess to murder. “I was just high and try to help myself get
       out of jail,” he wrote. Jennings added, “I had origacally picked
       Photo 1 top left corner but the detectvive pointed to the 5th
       photo of lineup witch is bottom row middle photo but I didnt
       hear or know anything about this charge.”
       Jennings repeated this to members of the Hinds County Dis‐
       trict Attorney’s Office the next month. He said he had taken
       “1½ shots” or “80‐90 units” of meth shortly before he gave
       Detective Thomas the April 2020 statement.4 He knew noth‐
       ing about Robertson’s murder and did not remember what he


       4 Jennings’ drug habits are unknown, but his statement is consistent with

       using a 50ml syringe to inject meth one and one‐half times. The record
       does not yet show what effect intravenous delivery of that amount of meth
       would have on a person, whether it resulted in visible marks on Jennings’
       body that Detective Thomas would have seen, or whether the detective
       otherwise knew or reasonably should have known of Jennings’ drug use.


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       told the detective. Jennings added that he was in the hospital
       the day of the murder and suffers from a variety of mental
       health disorders.5
       On April 14, 2022, the prosecutor moved to “remand” Green’s
       case.6 The State was “unable to meet its burden of proof.”7 The
       prosecutor attached Jennings’ written recantation.
       The presiding judge granted the motion and dismissed the
       case on April 21, 2022. Green was released from jail. He had
       been incarcerated in the Hinds County Detention Center for
       22 months.8
       This lawsuit followed in February 2023. In it, Green claims
       that Detective Thomas violated his rights under the Fourth
       Amendment, the Fourteenth Amendment, and Mississippi
       law to be free from “malicious prosecution and malicious




       5 Again, we do not know whether Detective Thomas knew or reasonably

       should have known that Jennings suffered from mental health disorders.
       The issue will be explored during discovery.
       6 That is a formal way of saying the prosecution wanted to abandon the

       case.
       7 The motion to remand suggests that Jennings may have given statements

       to law enforcement in February and April 2020. See Docket No. 1‐1.
       Green’s pleading, however, refers to only one statement—the one Jen‐
       nings made on April 10, 2020. The Court does not know the truth of the
       matter, but for present purposes must adopt Green’s version of events.
       8 Green’s complaint says he was incarcerated for two years and three

       months, but July 2020 to April 2022 is under two years. The parties may
       clarify the exact timeline in discovery.


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       arrest without probable cause.”9 Green says the detective
       withheld crucial evidence from the grand jury, including the
       police report stating that Robertson was conscious when he
       arrived at the Forbes residence, information that the inform‐
       ant was unreliable (as an addict and a criminal), and other po‐
       lice evidence indicating that Robertson had been with a man
       named Brandon Summerall (rather than Green) “shortly be‐
       fore” the shooting. Green attached to his complaint the in‐
       formant’s sworn statement about Detective Thomas manipu‐
       lating the photo lineup.
       As for the detective’s employer, Green says the City of Jack‐
       son is liable for an unconstitutional custom or practice of fail‐
       ing to train its officers on probable cause and how to corrob‐
       orate informants’ statements. He says that custom or policy
       caused his injuries.
       Green then claims Hinds County is liable for subjecting him
       to unconstitutional conditions of confinement. He observes
       that during his detention, the Hinds County Detention Center
       was under a federal Consent Decree that sought to address
       persistent understaffing and conditions deficiencies. United
       States v. Hinds Cnty., No. 3:16‐CV‐489‐CWR‐RHWR, 2021 WL
       5501442 (S.D. Miss. Nov. 23, 2021). All of Green’s constitu‐
       tional claims are brought by way of 42 U.S.C. § 1983.




       9 In Mississippi, the tort of “malicious arrest” is now called “false arrest.”

       City of Mound Bayou v. Johnson, 562 So. 2d 1212, 1219 (Miss. 1990). Green
       later withdrew this state‐law claim. Docket No. 18 at 13.


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       Now before the Court is Detective Thomas’s motion to dis‐
       miss pursuant to Federal Rule of Civil Procedure 12(b)(6).10
       She says qualified immunity protects her from this suit.
                              II.     Legal Standard
       “To survive a motion to dismiss, a complaint must contain
       sufficient factual matter, accepted as true, to state a claim to
       relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S.
       662, 678 (2009) (quotation marks and citation omitted). “A
       claim has facial plausibility when the plaintiff pleads factual
       content that allows the court to draw the reasonable inference
       that the defendant is liable for the misconduct alleged.” Id.
       “On a Rule 12(b)(6) motion, a district court generally must
       limit itself to the contents of the pleadings, including attach‐
       ments thereto.” Brand Coupon Network, 748 F.3d at 635 (quota‐
       tion marks and citation omitted). “The court may also con‐
       sider documents attached to either a motion to dismiss or an
       opposition to that motion when the documents are referred to
       in the pleadings and are central to a plaintiff’s claims.” Id. (ci‐
       tations omitted).
       Ultimately, the Court’s task “is to determine whether the
       plaintiff has stated a legally cognizable claim . . . , not to eval‐
       uate the plaintiff’s likelihood of success.” In re McCoy, 666 F.3d
       924, 926 (5th Cir. 2012) (citation omitted and emphasis
       added). Thus, the Court must accept all well‐pleaded factual
       allegations as true and draw reasonable inferences in favor of
       the plaintiff. See Lormand v. US Unwired, Inc., 565 F.3d 228, 232
       (5th Cir. 2009).


       10 The City of Jackson and Hinds County have also filed Rule 12 motions.

       Those will be taken up separately.


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       This same pleading standard applies to motions to dismiss
       based on qualified immunity. See Terwilliger v. Reyna, 4 F.4th
       270, 279‐80 (5th Cir. 2021).
         III.    The Ku Klux Klan Act and Qualified Immunity
                      A.     The Origins of the Statute
       After the Civil War, white supremacists unleashed waves of
       terrorism across the South. See Eric Foner, Reconstruction:
       America’s Unfinished Revolution 1863‐1877 (1988); Nicholas
       Lemann, Redemption: The Last Battle of the Civil War (2006).
       Lawlessness was the order of the day. Pierson v. Ray, 386 U.S.
       547, 559 (1967) (Douglas, J., dissenting). Groups like the Ku
       Klux Klan carried out “thousands of beatings, lynchings, and
       incidents of torture and mutilation.” Robin D. Barnes, Blue by
       Day and White by (k)night: Regulating the Political Affiliations of
       Law Enforcement and Military Personnel, 81 Iowa L. Rev. 1079,
       1099 (1996). “These atrocities were inflicted with impunity be‐
       cause judges, politicians, and law enforcement officers were
       fellow Klansmen and loyal sympathizers.” Id. White suprem‐
       acy empowered them to kill Black men, women, and children
       without fear of consequences. See Tiffany R. Wright et al.,
       Truth and Reconciliation: The Ku Klux Klan Hearings of 1871 and
       the Genesis of Section 1983, 126 Dickinson L. Rev. 685, 690‐92,
       702 (2022).
       Congress responded with the Ku Klux Klan Act of 1871. See
       Monroe v. Pape, 365 U.S. 167, 172 (1961). It wanted “to provide
       a remedy for the wrongs being perpetrated” on Black folk.
       Pierson, 386 U.S. at 559 (Douglas, J., dissenting).
       The Ku Klux Klan Act imposes liability upon any person who,
       acting under color of state law, deprives another of a federal



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       right. See 42 U.S.C. § 1983.11 In other words, the statute guar‐
       antees “basic federal rights of individuals against incursions
       by state power.” Patsy v. Bd. of Regents of State of Fla., 457 U.S.
       496, 503 (1982).
       Because the law is codified at 42 U.S.C. § 1983—and because
       lawyers usually shy away from saying Ku Klux Klan—this
       law is often referred to as “Section 1983.” This Court will refer
       to the law by its formal name as a reminder of why the Recon‐
       struction Congress saw the need to enact it.
       A person seeking damages for a constitutional violation does
       not have to cite or quote the Ku Klux Klan Act to get in the
       courthouse door. Johnson v. City of Shelby, Miss., 574 U.S. 10,
       11 (2014). Federal procedure is not that stingy. Whenever a
       person brings a constitutional claim, though, they invoke the
       Ku Klux Klan Act’s authority. The statute is how Congress
       chose “to provide a remedy, to be broadly construed, against
       all forms of official violation of federally protected rights.”
       Monell v. Dep’t of Soc. Servs. of City of New York, 436 U.S. 658,
       700‐01 (1978).
       The “very purpose of § 1983 was to interpose the federal
       courts between the States and the people, as guardians of the
       people’s federal rights—to protect the people from unconsti‐
       tutional action under color of state law, whether that action
       be executive, legislative, or judicial.” Mitchum v. Foster, 407
       U.S. 225, 242 (1972) (quotation marks and citation omitted).12


       11 “Liability” in this context means “damages,” which is a formal way of

       saying money. This remedy “has coexisted with our constitutional system
       since the dawn of the Republic.” Tanzin v. Tanvir, 592 U.S. 43, 52 (2020).
       12 Readers may be familiar with accounts of police officers and sheriff’s

       deputies joining forces with the Klan to terrorize Black citizens. State


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       The Ku Klux Klan Act “established a new legal order that con‐
       templated direct federal intervention in what had been con‐
       sidered to be state affairs, a system in which federal courts
       were to enforce newly created federal constitutional rights
       against state officials through civil remedies and criminal
       sanctions.” Katherine A. Macfarlane, Accelerated Civil Rights
       Settlements in the Shadow of Section 1983, 2018 Utah L. Rev. 639,
       660 (2018) (quotation marks and citation omitted).
                B.      The Invention of Qualified Immunity
       The Ku Klux Klan Act created “a species of tort liability that
       on its face admits of no immunities.” Wyatt v. Cole, 504 U.S.
       158, 163 (1992) (quotation marks and citation omitted). It had
       “no exceptions” for government officers who violated federal
       law in purported good faith. Patrick Jaicomo & Anya Bidwell,
       Recalibrating Qualified Immunity: How Tanzin v. Tanvir, Taylor
       v. Riojas, and McCoy v. Alamu Signal the Supreme Court’s Dis‐
       comfort With the Doctrine of Qualified Immunity, 112 J. Crim. L.
       & Criminology 105, 119 (2022). Rather, “the historical rule of
       strict liability continued.” Id.
       The Supreme Court explained why in 1882:
               No man in this country is so high that he is
               above the law. No officer of the law may set that
               law at defiance with impunity. All the officers
               of the government, from the highest to the low‐
               est, are creatures of the law and are bound to
               obey it. It is the only supreme power in our

       judicial officials too enabled the savage violence. “[S]tate courts left the
       terrorism committed by various white militant groups seeking control in
       the South unchecked. . . . Local magistrates, judges, and grand juries re‐
       fused or failed to act.” Wright et al., 126 Dickinson L. Rev. at 701‐02.


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              system of government, and every man who by
              accepting office participates in its functions is
              only the more strongly bound to submit to that
              supremacy, and to observe the limitations
              which it imposes upon the exercise of the au‐
              thority which it gives.
       United States v. Lee, 106 U.S. 196, 220 (1882). In the decades to
       follow, the Supreme Court did not recognize good‐faith im‐
       munity as a defense to suit. See Baxter v. Bracey, 140 S. Ct. 1862,
       1863 (2020) (Thomas, J., dissenting from the denial of certio‐
       rari).
       That all changed in Pierson v. Ray, a case arising out of Jim
       Crow Mississippi.
       In Pierson, police officers in Jackson arrested and jailed peace‐
       ful ministers who entered a “White Only” waiting room in a
       bus terminal. 386 U.S. at 552‐53. The ministers eventually beat
       the bogus criminal charges in Mississippi state court, then
       sued the police officers in federal court for violating their con‐
       stitutional rights, as guaranteed by the Ku Klux Klan Act.
       On appeal, the Supreme Court decided that the police officers
       could assert a form of immunity—a “[]qualified immunity”—
       by claiming that they acted in good faith when they arrested
       the ministers to prevent violence. Id. at 555. The Justices de‐
       rived this immunity from good‐faith and probable‐cause de‐
       fenses available to officers facing common law claims.
       This was a strange conclusion, historically‐speaking. Again,
       “lawsuits against officials for constitutional violations did not
       generally permit a good‐faith defense during the early years
       of the Republic” or in the decades after the Ku Klux Klan Act.
       William Baude, Is Qualified Immunity Unlawful?, 106 Calif. L.


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       Rev. 45, 55, 57 (2018). In addition, “to the limited extent a
       good‐faith defense did exist in some common‐law suits, it was
       part of the elements of a common‐law tort, not a general im‐
       munity.” Id. at 55. Yet the Court “either ignored or misstated
       this history.” Dobbs v. Jackson Womenʹs Health Org., 597 U.S.
       215, 241 (2022).
       Pierson was strange factually, too. The officers had no proof
       that the ministers were a threat to public safety. The true
       threat came from the menacing crowd of 25 to 30 bystanders
       “in a very dissatisfied and ugly mood,” “mumbling and mak‐
       ing unspecified threatening gestures,” and “threatening vio‐
       lence.” Pierson, 386 U.S. at 553. The officers never even
       claimed a good faith belief that the ministers had violated the
       law. Id. at 557. It was as if the officers had arrived at a hostage
       situation, protected the kidnappers, and arrested the hos‐
       tages.13
       And Pierson was strange legally, if you step back and consider
       it from a distance. The Justices took a law meant to protect
       freed people exercising their federal rights in Southern states
       after the Civil War, then flipped its meaning. In creating qual‐
       ified immunity, the high Court protected the Southern


       13 This even happens today. In one recent case, police officers in Texas

       arrived at the scene of a car crash, let the drunk driver go, arrested the
       Good Samaritan who called 911, and charged the Good Samaritan with a
       felony. Hughes v. Garcia, ‐‐‐ F.4th ‐‐‐, No. 22‐20621, 2024 WL 1952868, at *1
       (5th Cir. May 3, 2024). The Fifth Circuit was horrified. It thought it “in‐
       san[e]” and irrational[]” that the police officers sought qualified immunity
       for such “obviously” unlawful conduct, and expressed astonishment that
       their lawyers defended them. Id. at *1 and *10. But it is not clear that the
       Texas officers did anything that different from the Mississippi officers who
       arrested and jailed the ministers in Pierson v. Ray.


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       officials still violating those federal rights 100 years after the
       War ended. Southern trees bear strange fruit, indeed.
       It is difficult to see qualified immunity’s creation as anything
       other than a backlash to the Civil Rights Movement. Yet even
       as America has incorporated the lessons of that Movement
       into its dominant narrative—that of American progress—the
       law has retained this vestige. Since the 1960s, in fact, the Su‐
       preme Court has continued to shape, enforce, and expand
       qualified immunity, making it almost impossible to over‐
       come.
                    C.     Modern Qualified Immunity
       Today, “[t]he doctrine of qualified immunity protects public
       officials from liability for civil damages insofar as their con‐
       duct does not violate clearly established statutory or constitu‐
       tional rights of which a reasonable person would have
       known.” Ramirez v. Martinez, 716 F.3d 369, 375 (5th Cir. 2013)
       (quotation marks and citation omitted). It is supposed to “bal‐
       ance[] two important interests—the need to hold public offi‐
       cials accountable when they exercise power irresponsibly and
       the need to shield officials from harassment, distraction, and
       liability when they perform their duties reasonably.” Pearson
       v. Callahan, 555 U.S. 223, 231 (2009).
       When a defendant asserts qualified immunity, the burden
       shifts to the plaintiff, who must overcome the defense. See
       Newman v. Guedry, 703 F.3d. 757, 761 (5th Cir. 2012). To do so
       at the motion to dismiss stage, the plaintiff must allege “that
       (1) the defendant violated the plaintiff’s constitutional rights
       and (2) the defendant’s actions were objectively unreasonable
       in light of clearly established law at the time of the violation.”




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       Cowart v. Erwin, 837 F.3d 444, 454 (5th Cir. 2016) (quotation
       marks and citation omitted).
              A clearly established right is one that is suffi‐
              ciently clear that every reasonable official
              would have understood that what he is doing
              violates that right. We do not require a case di‐
              rectly on point, but existing precedent must
              have placed the statutory or constitutional ques‐
              tion beyond debate. Put simply, qualified im‐
              munity protects all but the plainly incompetent
              or those who knowingly violate the law.
       Mullenix, 577 U.S. at 11‐12 (cleaned up).
       The “clearly established” requirement is unusual in the law.
       Other torts don’t require it. If a surgeon accidentally leaves a
       sponge in your abdomen before stitching you up, you do not
       have to point to an existing appellate decision “clearly estab‐
       lishing” his error before proceeding with your claim. You
       simply state the facts and explain that the surgeon’s conduct
       fell below the standard of care.
       The clearly established requirement is nevertheless the gov‐
       erning standard in constitutional torts. Under this standard,
                 Courts let correctional officers hold a person
                  for six days in a frigid cell, covered in other
                  persons’ feces and forced to sleep naked in
                  sewage, because it was only clearly estab‐
                  lished “that prisoners couldn’t be housed in
                  cells teeming with human waste for months




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                   on end.” Taylor v. Stevens, 946 F.3d 211, 222
                   (5th Cir. 2019) (emphasis added).14
                  Courts let police officers steal $225,000 in
                   cash and rare coins. Jessop v. City of Fresno,
                   936 F.3d 937, 940 (9th Cir. 2019). Although
                   that was “morally wrong,” the officers “did
                   not have clear notice that it violated the
                   Fourth Amendment.” Id. at 942.
                  Courts let correctional officers spray some
                   chemical agent in a person’s face “for no rea‐
                   son at all,” because it was only clearly estab‐
                   lished that guards could not use “the full can
                   of spray.” McCoy v. Alamu, 950 F.3d 226, 232‐
                   33 (5th Cir. 2020).
                  Courts let police officers who were inside a
                   car kill a person who didn’t warrant lethal
                   force. The law clearly established only that
                   an officer could not shoot a person from out‐
                   side a car. Stewart v. City of Euclid, Ohio, 970
                   F.3d 667, 675 (6th Cir. 2020).


       14 After media scrutiny, the Supreme Court reversed. Taylor v. Riojas, 592

       U.S. 7 (2020) (per curiam). The Justices thought “no reasonable correc‐
       tional officer could have concluded that, under the extreme circumstances
       of this case, it was constitutionally permissible to house Taylor in such
       deplorably unsanitary conditions for such an extended period of time.” Id.
       at 8‐9. The fact remains that the first four federal judges to hear Mr. Tay‐
       lor’s case all concluded that the correctional officers were entitled to qual‐
       ified immunity. Equally sad is that the lower courts denied Mr. Taylor’s
       plea to have a lawyer appointed to help him. The Court of Appeals found
       that Mr. Taylor’s case did “not present exceptional circumstances requir‐
       ing appointment of counsel.” Taylor v. Stevens, 707 F. App’x 280, 281 (5th
       Cir. 2017).


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                A court let five police officers shoot a man 22
                 times as he lay motionless on the ground, af‐
                 ter tasing him four times, kicking him, and
                 placing him in a chokehold. Estate of Jones v.
                 City of Martinsburg, W. Va., 961 F.3d 661, 663‐
                 64 (4th Cir. 2020). It was not clearly estab‐
                 lished that officers could not shoot a motion‐
                 less person who possessed a knife. Estate of
                 Jones v. City of Martinsburg, W. Va., No. 3:13‐
                 CV‐68, 2018 WL 4289325, at *5 (N.D.W. Va.
                 Sept. 7, 2018).
                Courts let a correctional officer watch a sui‐
                 cidal detainee strangle himself to death with
                 a telephone cord, after officials placed him in
                 the cell, with the cord, knowing he was un‐
                 stable and had repeatedly attempted sui‐
                 cide. Cope v. Cogdill, 3 F.4th 198, 202‐03 (5th
                 Cir. 2021). It was not clearly established that
                 correctional officers who watch a person at‐
                 tempt suicide had to “call for emergency
                 medical assistance.” Id. at 209.
                And a court let a deputy sheriff shoot a 10‐
                 year‐old child (from 18 inches away) while
                 the deputy repeatedly tried to shoot a non‐
                 threatening family dog. Corbitt v. Vickers, 929
                 F.3d 1304, 1308 (11th Cir. 2019). No prior de‐
                 cision “clearly established” that act as un‐
                 constitutional. Id. at 1315.
       These are just a handful of the cases demonstrating how a
       “lack of precisely‐analogous controlling law can oftentimes
       sound the death knell to a § 1983 claim.” Stewart, 970 F.3d at
       681 (Donald, J., concurring in part and dissenting in part).

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       Such “thin distinctions . . . allow officers to evade accounta‐
       bility for excessive abuses, including killing people.” Osagie
       K. Obasogie & Anna Zaret, Plainly Incompetent: How Qualified
       Immunity Became an Exculpatory Doctrine of Police Excessive
       Force, 170 U. Pa. L. Rev. 407, 412 (2022) (collecting cases). And
       we know which people disproportionately bear the brunt of
       the doctrine.
            D.     Qualified Immunity’s Racial Consequences
       Qualified immunity has obvious economic consequences. It
       discourages victims of misconduct from bringing lawsuits,
       and those who do file suit sometimes recover nothing because
       of it. Qualified immunity accomplishes this by preventing vic‐
       tims of government misconduct from using the discovery
       tools available to other litigants. See Carswell v. Camp, 54 F.4th
       307, 312‐13 (5th Cir. 2022).
       Another obvious consequence of qualified immunity, though,
       is a perpetuation of racial inequality.




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       Research indicates that Black Americans are pulled over more
       often,15 searched more often,16 arrested more often,17 impris‐
       oned more often,18 wrongfully convicted more often,19 and
       killed by law enforcement more often than other Ameri‐
       cans.20,21 Qualified immunity then bars many of these


       15 Emma Pierson et al., A large‐scale analysis of racial disparities in police stops

       across the United States, 4 Nature Hum. Behav. 736, 737 (2020).
       16 Id. at 739 (“In these jurisdictions, stopped black and Hispanic drivers

       were searched about twice as often as stopped white drivers.”); see also
       Sharad Goel & Cheryl Phillips, Police Data Suggests Black and Hispanic Driv‐
       ers are Searched More Often Than Whites, Slate (June 19, 2017) (“Turning to
       the data, we found that searches of Hispanic drivers yield contraband at
       lower rates than searches of whites, and that searches of black drivers
       yield contraband at similar rates to searches of whites.”).
       17 Lauren Nichol Gase et al., Understanding Racial and Ethnic Disparities in

       Arrest: The Role of Individual, Home, School, and Community Characteristics, 8
       Race Soc. Probl. 296 at PDF pp.10‐11 (2016).
       18 William J. Sabol et al., Justice Systems Disparities: Black‐White National

       Imprisonment Trends, 2000 to 2020 (Council on Crim. Just. Sept. 2022) (“in
       2020, Black adults were imprisoned at 4.9 times the rate of White adults”).
       19 Samuel R. Gross et al., Race and Wrongful Convictions in the United States

       2022, Nat’l Registry of Exonerations (Sept. 2022) (“Judging from exonera‐
       tions, innocent Black Americans are seven times more likely than white
       Americans to be falsely convicted of serious crimes.”).
       20 Jeffrey Fagan & Alexis D. Campbell, Race and Reasonableness in Police

       Killings, 100 B.U. L. Rev. 951, 961 (2020) (“Black suspects are more than
       twice as likely to be killed by police than are suspects from other racial or
       ethnic groups, including shootings where there are no obvious reasonable
       circumstances.”).
       21 Additionally, it is well‐established that defendants are more likely to be

       sentenced to death if their murder victim was white. See Scott Phillips &
       Justin Marceau, Whom the State Kills, 55 Harv. C.R.‐C.L. L. Rev. 585, 587
       (2020); McCleskey v. Kemp, 481 U.S. 279, 287 (1987). New research indicates


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       individuals from securing justice, “shut[ting] the courthouse
       doors on a large portion of those black and brown citizens
       who plausibly allege that police officers targeted, surveilled,
       or stopped them because of their race.” Bey v. Falk, 946 F.3d
       304, 331 (6th Cir. 2019) (Clay, J., dissenting). America’s “long
       history of racism . . . is unavoidably and inextricably en‐
       shrined in the doctrine.” Katherine Enright & Amanda Geary,
       Qualified Immunity and the Colorblindness Fallacy: Why “Black
       Lives [Don’t] Matter” to the Country’s Highest Court, 13 Geo. J.
       of L. & Mod. Critical Race Persps. 135, 140 (2021).
       With that essential background, the Court turns to analyze
       Green’s causes of action.
                                  IV.     Discussion
       Green’s claims occasionally share elements or have overlap‐
       ping analyses. For example, a lack of probable cause supports
       a Mississippi malicious prosecution claim, a Fourth Amend‐
       ment malicious prosecution claim, and a Fourth Amendment
       false arrest claim. The same is sometimes true for Detective
       Thomas’s defenses. She has invoked the “independent inter‐
       mediary” doctrine as a defense to all of Green’s claims.
       The Court will do its best to analyze each claim and defense
       without unnecessary repetition.
               A.       State Law Malicious Prosecution Claim
       The discussion begins with Green’s malicious prosecution
       claim. Both parties identify essentially the same six elements
       of malicious prosecution under Mississippi law:


       that Black people on death row even suffer a “botched execution” more
       than twice as often as white people. Reprieve, Lethal injection in the modern
       era: cruel, unusual and racist at 4 (April 2024).


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              (1) the institution of a criminal proceeding; (2)
              by, or at the instance of, the defendant; (3) ter‐
              mination of such proceedings in plaintiff’s fa‐
              vor; (4) malice in instituting the proceeding; (5)
              want of probable cause for the proceeding; and
              (6) the plaintiff’s suffering of injury or damage
              as a result of the prosecution.
       Univ. of Miss. Med. Ctr. v. Oliver, 235 So. 3d 75, 83 (Miss. 2017)
       (quotation marks and citation omitted).
       The parties agree that Detective Thomas caused criminal pro‐
       ceedings against Green; that those proceedings ended in
       Green’s favor; and that Green was injured. They dispute ele‐
       ments (4) and (5): malice and want of probable cause. Each
       will be considered in turn.
                                1.     Malice
       Detective Thomas says Green has not met the “high bar” re‐
       quired to prove malice. Docket No. 10 at 10 (quoting Oliver,
       235 So. 2d at 83). She argues that malice requires the defend‐
       ant to have instigated the proceedings for “private ad‐
       vantage” such as extortion, debt collection, witness intimida‐
       tion, and the like. Id.
       A review of her supporting case does not bear this out. Oliver
       indicates that while one can certainly prove malice with evi‐
       dence of such intentions, the list is merely illustrative. It does
       not establish the threshold for establishing malice.
       Detective Thomas is on firmer footing when she argues that
       the malice element requires proof that the defendant insti‐
       tuted the prosecution “primarily for a purpose other than that
       of bringing an offender to justice.” Oliver, 235 So. 3d at 83
       (quotation marks and citations omitted). That is the language


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       used in a litany of Mississippi cases. See id. (collecting cases).
       The question then becomes, how does one prove the purpose
       an officer had in mind when they instituted a prosecution?
       Malice, after all, “is a mental state.” Owens v. Kroger Co., 430
       So. 2d 843, 847 (Miss. 1983).
       The Mississippi Supreme Court has provided the answer.
       “The ordinary and popular meaning of malice is usually as‐
       sociated with anger, hatred, ill will, and the like,” that court
       has written, “but malice in fact and malice in law are not to be
       confused.” Harvill v. Tabor, 128 So. 2d 863, 864 (Miss. 1961). In
       the legal context, “[m]alice does not refer to mean or evil in‐
       tent.” Strong v. Nicholson, 580 So. 2d 1288, 1293 (Miss. 1991).
       Instead, the Mississippi Supreme Court has consistently held
       that “[m]alice can be inferred from the fact that a defendant
       may have acted with reckless disregard for a plaintiff’s
       rights.” Bankston v. Pass Rd. Tire Ctr., Inc., 611 So. 2d 998, 1006
       (Miss. 1992) (citing Strong, 580 So. 2d at 1293); see also Nassar
       v. Concordia Rod & Gun Club, Inc., 682 So. 2d 1035, 1046 (Miss.
       1996); Benjamin v. Hooper Elect. Supply Co., 568 So. 2d 1182,
       1191 (Miss. 1990). The court tells us that “[m]alice may be and
       usually is shown by circumstantial evidence.” Strong, 580 So.
       2d at 1293 (collecting cases). And it “has emphasized that
       since the question of malice is a question of fact, it is to be
       determined by the jury unless only one conclusion may reason‐
       ably be drawn from the evidence.” Benjamin, 568 So. 2d at
       1191 (citations omitted and emphasis in original).
       This definition is satisfied here. Green describes several ways
       in which Detective Thomas acted with reckless disregard for
       his rights. For one, she pointed out Green to Jennings in a
       photo lineup after Jennings had identified someone else as the



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       killer. Jennings made a sworn statement attesting to such. See
       Docket No. 1‐1. Steering an informant to make a false identi‐
       fication could not have been in the interest of “bringing crim‐
       inal offenders to justice.” Oliver, 235 So. 3d at 83. In fact, courts
       have found identifications unduly suggestive when they
       “steer[] the witness to one suspect or another, independent of
       the witness’s honest recollection.” Wilson v. Mitchell, 250 F.3d
       388, 397 (6th Cir. 2001) (citation omitted).
       Green’s claim is buttressed by other circumstantial evidence
       of reckless disregard. He says Detective Thomas ignored and
       failed to inquire into obvious inconsistencies between Jen‐
       nings’ statement and the police reports she had in hand. See
       Docket No. 18 at 6. It would be impossible, he says, to credit
       Jennings’ statement that Green moved the victim’s body and
       honor the police report indicating that the victim was alive
       when discovered. Detective Thomas then withheld from the
       grand jury the holes that cast doubt on Jennings’ reliability
       and Green’s culpability. These are “facts of the case” from
       which a jury can infer malice. Benjamin, 568 So. 2d at 1191 (ci‐
       tation omitted).
       The order of events may also indicate malice. If the detective
       steered Jennings to make a false identification before she pre‐
       sented Jennings’ evidence to the grand jury, her acts might be
       probative of an intent to mislead the grand jurors.
       Granting reasonable inferences in Green’s favor, as the Court
       must at this stage, Detective Thomas acted with reckless dis‐
       regard for Green’s rights and may be subjected to discovery
       on the malice element.
       Green has alleged malice in yet another way, too. In Missis‐
       sippi, “absence of probable cause for the prosecution is



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       circumstantial evidence of malice.” Id. (citing Royal Oil Co., v.
       Wells, 500 So. 2d 439, 444 (Miss. 1986)); see Brown v. Watkins,
       56 So. 2d 888, 891 (Miss. 1952). As that is a separate element
       of malicious prosecution, however, and mindful of the fact
       that an absence of probable cause can support multiple as‐
       pects of Green’s claims, the Court now moves on to discuss
       that issue.
                       2.     Lack of Probable Cause
       Probable cause under Mississippi law requires the initiating
       law enforcement officer to concurrently have “(1) an honest
       belief on the guilt of the person accused, and (2) reasonable
       grounds for such belief.” Alpha Gulf Coast, Inc. v. Jackson, 801
       So. 2d 709, 722 (Miss. 2001) (quotation marks and citations
       omitted); see also Royal Oil, 500 So. 2d at 443. “Unfounded sus‐
       picion and conjecture are not proper bases for finding proba‐
       ble cause.” Benjamin, 568 So. 2d at 1190 (citation omitted).
       Detective Thomas does not identify how Green has failed to
       sufficiently plead one or both prongs of this standard. Instead,
       she reiterates that the grand jury’s finding of probable cause
       forecloses this claim. See Docket No. 10 (raising the “inde‐
       pendent intermediary” doctrine). The Court devotes much
       time to this objection below. See infra at Part IV.D. At this junc‐
       ture, though, the Court assesses whether Green has suffi‐
       ciently alleged a lack of probable cause under Mississippi law.
       It is difficult to know what to do with the first element: the
       officer’s “honest belief” in the accused’s guilt. Green posits
       that Detective Thomas could not have believed in his guilt,
       because she steered a pliable informant to Green’s face in the
       photo lineup. See Docket No. 18 at 9. On the other hand,
       maybe she steered the informant toward Green precisely



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       because she believed so deeply in Green’s guilt. For her own
       part, Detective Thomas does not advance an argument re‐
       garding her “honest belief” in Green’s guilt.
       Even if we were to credit this element in her favor and assume
       that Detective Thomas genuinely believed Green was guilty,
       Green has alleged facts to proceed on the second element—
       that Detective Thomas’s belief was objectively unreasonable.
       Green’s allegations regarding the contradictions between Jen‐
       nings’ statement and the available evidence support an “ab‐
       sence of probable cause” by demonstrating that “a reasonable
       person would investigate further before instigating a pro‐
       ceeding.” Benjamin, 568 So. 2d at 1191.
       A final observation is owed here. A significant number of Mis‐
       sissippi cases concerning malice and probable cause are re‐
       solved at later stages of litigation, when courts can review the
       evidence. See id. at 1192 (ordering a new trial after considering
       evidence of “a senseless prosecution initiated . . . in a reckless
       manner”); Royal Oil, 500 So. 2d at 443 (affirming jury verdict
       finding malicious prosecution); Owens, 430 So. 2d at 844 (re‐
       instating a jury verdict of malicious prosecution); Oliver, 235
       So. 3d at 77 (considering the evidence gathered at summary
       judgment); Harvill, 128 So. 2d at 864 (vacating defense verdict
       and remanding for new trial). The weight of the authorities
       suggest that this Court should proceed with caution at the
       motion to dismiss stage and decline to make determinations
       that may be better resolved on the evidence.22




       22 For that matter, Mississippi Supreme Court cases suggest caution at the

       summary judgment stage, too. See Benjamin, 568 So. 2d at 1190 (vacating
       directed verdict and remanding for jury trial); Brown v. Watkins, 56 So. 2d


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       For these reasons, and subject to the independent intermedi‐
       ary defense to be discussed below, Green has sufficiently pled
       a malicious prosecution claim under Mississippi law.
                       B.        Fourth Amendment Claims
       The Fourth Amendment to the Constitution is one sentence
       long. It says:
               The right of the people to be secure in their per‐
               sons, houses, papers, and effects, against unrea‐
               sonable searches and seizures, shall not be vio‐
               lated, and no Warrants shall issue, but upon
               probable cause, supported by Oath or affirma‐
               tion, and particularly describing the place to be
               searched, and the persons or things to be seized.
       U.S. Const. amend. IV. The Amendment is meant “to safe‐
       guard the privacy and security of individuals against arbi‐
       trary invasions by governmental officials.” Camara v. Mun. Ct.
       of City & Cnty. of San Francisco, 387 U.S. 523, 528 (1967).
       Green brings two kinds of Fourth Amendment claims. One is
       for malicious prosecution, and the other is for false arrest.
                            1.     Malicious Prosecution
       The Supreme Court recently reaffirmed that persons may
       bring a standalone Fourth Amendment malicious prosecution
       claim under the Ku Klux Klan Act. See Thompson v. Clark, 596
       U.S. 36, 42 (2022) (collecting cases). The Court cited Winfrey v.
       Rogers, 901 F.3d 483, 492‐93 (5th Cir. 2018) as an example of
       such a claim. Given Winfrey, it was clearly established in 2020


       888, 891 (Miss. 1952) (endorsing trial court’s decision to let jury determine
       malice and probable cause).


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       that Green had a right to be free from the initiation of wrong‐
       ful criminal proceedings without probable cause.23
       The Thompson decision clarified two minimum requirements
       of federal malicious prosecution claims. The first is that “the
       malicious prosecution resulted in a seizure of the plaintiff.”
       596 U.S. at 43 n.2 (citation omitted). The second is the “favor‐
       able termination” element of a common law malicious

       23 The federal right to be free from malicious prosecution has a peripatetic

       history in this circuit. See Gordy v. Burns, 294 F.3d 722, 725 (5th Cir. 2002)
       (describing Fifth Circuit caselaw on this topic as “confused and confus‐
       ing”). The Court documents its development briefly.
       The Fifth Circuit used to formally recognize a federal malicious prosecu‐
       tion claim as “coextensive” with “the elements of the state‐law tort of ma‐
       licious prosecution.” Id. (citation omitted). In 2003, though, the en banc
       court overruled this holding, finding that “malicious prosecution states no
       constitutional claim.” Castellano v. Fragozo, 352 F.3d 939, 953 (5th Cir. 2003)
       (en banc).
       Despite this headline, Castellano went on to say that “[t]he initiation of
       criminal charges without probable cause may set in force events that run
       afoul of explicit constitutional protection—the Fourth Amendment if the
       accused is seized and arrested, for example.” Id. And later Fifth Circuit
       cases cited this language to recognize a right to be free from the wrongful
       initiation of criminal proceedings when they run in conjunction with an
       unreasonable seizure – sometimes even calling it or analogizing it to “ma‐
       licious prosecution.” See Hernandez v. Terrones, 397 F. App’x 954, 966 & n.5
       (5th Cir. 2010); Good v. Curtis, 601 F.3d 393, 401 (5th Cir. 2010); Winfrey, 901
       F.3d at 492‐93; Morgan v. Chapman, 969 F.3d 238, 245‐46 (5th Cir. 2020) (“In
       so far as the defendant’s bad actions (that happen to correspond to the tort
       of malicious prosecution) result in an unreasonable search or seizure,
       those claims may be asserted under § 1983 as violations of the Fourth
       Amendment.”).
       Thus, no matter how it is labeled, there is a clearly established right in this
       circuit to be free from the wrongful initiation of criminal proceedings that
       result in a seizure.


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       prosecution claim, which has already been addressed above.24
       Id. at 44. “The Supreme Court did not, however, lay out a
       comprehensive list of the elements for a Fourth Amendment
       malicious prosecution claim, and largely left the question of
       elements to the lower courts.” Armstrong v. Ashley, 60 F.4th
       262, 278 (5th Cir. 2023).
       Picking up on this instruction, the Fifth Circuit subsequently
       clarified the remaining elements of a federal malicious prose‐
       cution claim. Id. at 279. It decided to reinstate earlier circuit
       precedent and require plaintiffs to prove the traditional six el‐
       ements of a common law malicious prosecution claim. Id.
       The bottom line is, in this circuit, a plaintiff pleading a federal
       malicious prosecution claim under the Ku Klux Klan Act
       must now allege seven elements: the six traditional malicious
       prosecution elements used in Mississippi law, id., and a sei‐
       zure, Thompson, 596 U.S. at 43 n.2.
       The parties agree that Green was seized when he was arrested
       and jailed. Docket No. 1 at 6. And we need not revisit Green’s
       factual allegations in support of the six state‐law malicious
       prosecution elements. Based on the resolution of those ele‐
       ments in his favor, and again subject to the discussion about
       independent intermediaries, Green has plausibly stated a fed‐
       eral malicious prosecution claim.




       24 This element “does not require the plaintiff to show that the criminal

       prosecution ended with some affirmative indication of innocence. A plain‐
       tiff need only show that the criminal prosecution ended without a convic‐
       tion.” Thompson, 596 U.S. at 49.


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                     2.       False Arrest / Illegal Detention
       Green alleges several times that Detective Thomas caused his
       “wrongful arrest” without probable cause. Docket No. 1 at 5‐
       7. It is not clear whether he intends this as a separate cause of
       action, or if this is an allegation that goes toward his Fourth
       Amendment claim for malicious prosecution. Out of an abun‐
       dance of caution, the Court turns to this claim now.
       “There can be no doubt” that the right to be free from arrest
       absent probable cause was clearly established at the time of
       Green’s arrest. Alexander v. City of Round Rock, 854 F.3d 298,
       306‐07 (5th Cir. 2017) (collecting cases); see Mangieri v. Clifton,
       29 F.3d 1012, 1016 (5th Cir. 1994). The issue is whether Green
       has sufficiently pleaded facts showing that Detective Thomas
       violated this right.
       “To prevail in a § 1983 claim for false arrest, a plaintiff must
       show that . . . the officers could not have reasonably believed
       that they had probable cause to arrest the plaintiff for any
       crime.” O’Dwyer v. Nelson, 310 F. App’x 741, 745 (5th Cir.
       2009) (cleaned up).25 “Probable cause is established by facts
       and circumstances within the officer’s knowledge that are suf‐
       ficient to warrant a prudent person, or one of reasonable cau‐
       tion, in believing . . . that the suspect has committed, is com‐
       mitting, or is about to commit an offense.” Arizmendi v.



       25 The Fifth Circuit has at times articulated this differently, writing that

       “plaintiffs must allege facts permitting an inference that defendants
       lacked arguable (that is, reasonable but mistaken) probable cause for the
       arrests.” Club Retro, L.L.C. v. Hilton, 568 F.3d 181, 207 (5th Cir. 2009) (cita‐
       tions omitted). Green’s false arrest claim survives either articulation of the
       standard.


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       Gabbert, 919 F.3d 891, 897 (5th Cir. 2019) (quotation marks and
       citation omitted).
       As Green points out, the “totality‐of‐the‐circumstances” test
       for probable cause requires considering the reliability, credi‐
       bility, and value of an informant’s tip. Docket No. 18 at 5‐6
       (quoting Illinois v. Gates, 462 U.S. 213 (1983)). The Supreme
       Court has “consistently recognized the value of corroboration
       of details of an informant’s tip by independent police work”
       and “reasonabl[e] corroborat[ion] by other matters within the
       officer’s knowledge.” 462 U.S. at 241‐42 (quoting Jones v.
       United States, 362 U.S. 257, 269 (1960)). Indeed, judges in this
       circuit instruct juries that testimony of an informant seeking
       money, immunity, or personal advantage “must always be
       examined and weighed by the jury with greater care and cau‐
       tion than the testimony of ordinary witnesses.” Fifth Circuit
       Pattern Jury Instructions (Criminal Cases) 1.15 (2019). Jurors
       are advised that a defendant should never be convicted “upon
       the unsupported testimony of such a witness” unless that tes‐
       timony is believed beyond a reasonable doubt. Id.
       An eyewitness identification cannot establish probable cause
       if “there is an apparent reason for the officer to believe that
       the eyewitness was lying, did not accurately describe what he
       had seen, or was in some fashion mistaken regarding his rec‐
       ollection.” United States v. Burbridge, 252 F.3d 775, 778 (5th Cir.
       2001) (citations omitted). A Fourth Amendment false arrest
       and illegal detention claim is further buttressed if the officer
       has conducted a reckless investigation. See Hernandez v. Terro‐
       nes, 397 F. App’x 954, 965‐66 (5th Cir. 2010).
       “Where a plaintiff makes no allegation that the subject de‐
       fendant actually arrested or detained him, the defendant will
       only be liable if his allegedly wrongful action was causally


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       connected to the plaintiff’s arrest and detention.’” Mayhew v.
       Johnson, No. 1:21‐CV‐141‐SA‐DAS, 2022 WL 3271087, at *7
       (N.D. Miss. Aug. 10, 2022) (cleaned up). This is a common law
       proximate cause standard. Id.
       Taking Green’s allegations and the available evidence as true,
       Detective Thomas could not have relied on Jennings’ state‐
       ment or photo lineup identification to reasonably believe that
       probable cause existed.
       Jennings’ statement is at times incoherent and at other times
       inconsistent. If Green didn’t know that Jennings was in the
       room, for example, Green could not have told Jennings that
       he shot Robertson. Green further urges the Court to reasona‐
       bly infer that Detective Thomas’s personal interactions with
       Jennings, his admittedly drug‐impaired demeanor, and his
       known criminal history put her on alert about his unreliabil‐
       ity. See Docket No. 18 at 5. Taking the facial incredulity of Jen‐
       nings’ statement together with these circumstances, it would
       be patently unreasonable for a prudent police officer or an of‐
       ficer of reasonable caution to end the probable cause inquiry
       there. Yet Detective Thomas didn’t corroborate Jennings’ in‐
       formation. When Jennings’ statement was finally revealed to
       be a lie, in fact, presumably the prosecution had nothing else
       to stand on; thus the District Attorney’s Office dismissed the
       indictment.
       Detective Thomas asserts that Green’s complaint is too vague.
       The “only allegation” about her in the complaint, she claims,
       “is that she obtained a statement from Jennings implicating




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       Plaintiff Green in the murder of Robertson,” and therefore the
       grand jury’s indictment protects her.26 Docket No. 10 at 7.
       Critically, however, Detective Thomas does not contend that
       Jennings’ statement, either alone or in combination (or, as the
       case may be, in contradiction) with any of the other evidence
       available to the police at the time, was enough to establish
       probable cause. The allegations and available evidence indi‐
       cate that it was not. The police already had evidence that the
       deceased’s body had not been moved and that Green had not
       been with the deceased shortly before his death. Docket No. 1
       at 3‐4. This contradicted Jennings’ statement, meaning it was
       not “reasonably corroborated by other matters within [Detec‐
       tive Thomas’s] knowledge.” Jones, 362 U.S. at 269. Yet Detec‐
       tive Thomas recklessly ignored the reliability and credibility
       of Jennings’ statement, used it, and withheld contradictory
       evidence from the grand jury, Green contends, causing his
       false arrest and illegal detention. She is not eligible for quali‐
       fied immunity on this claim. Accord Hughes v. Garcia, ‐‐‐ F.4th
       ‐‐‐, No. 22‐20621, 2024 WL 1952868, at *7 (5th Cir. May 3,
       2024).
                    C.       Fourteenth Amendment Claim
       Green’s complaint asserts that Detective Thomas violated the
       Fourteenth Amendment. Docket No. 1 at 7. As before, it is not
       entirely clear whether he intends this as a standalone cause of
       action or, perhaps, a backstop in the event his Fourth Amend‐
       ment claims fail. In an attempt to unwind the different legal
       theories at stake, the analysis first addresses whether Green
       has sufficiently pled a Fourteenth Amendment violation,

       26 To reiterate, the Court discusses the independent intermediary doctrine

       below in Part IV.D.


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       before tackling whether, if so, Green can bring such a claim at
       this stage.
       A long line of Fifth Circuit cases clearly establishes a due pro‐
       cess right to be free from police misconduct—in the form of
       evidence fabrication, witness interference, or concealment of
       exculpatory evidence—that causes an unlawful arrest, deten‐
       tion, or conviction. For example, a police officer violates the
       Constitution if she “procures false identification by unlawful
       means or deliberately conceals exculpatory evidence.” Geter
       v. Fortenberry, 882 F.2d 167, 170 (5th Cir. 1989) (quotation
       marks and citation omitted) [hereinafter Geter II]. A police of‐
       ficer also violates the Constitution if she knowingly “unlaw‐
       fully influenc[es] witnesses.” Good v. Curtis, 601 F.3d 393, 398
       (5th Cir. 2010) (citations omitted). In keeping with these deci‐
       sions, and after surveying its sister circuits, in 2015 the Fifth
       Circuit reaffirmed “a due process right not to have police de‐
       liberately fabricate evidence and use it to frame and bring
       false charges against a person.” Cole v. Carson, 802 F.3d 752,
       771 (5th Cir. 2015) [hereinafter Cole I], vacated sub nom. Hunter
       v. Cole, 580 U.S. 994 (2016), and opinion reinstated in part, 905
       F.3d 334, 342 (5th Cir. 2018).
       Given these cases, this Court is satisfied that the Fourteenth
       Amendment right allegedly violated by Detective Thomas
       was clearly established in 2020. It proceeds to assess whether
       Green’s factual allegations on this claim are sufficient.
       Again, Green alleges that Detective Thomas secured an unbe‐
       lievable statement from a high, mentally‐ill jailhouse inform‐
       ant; did not corroborate the informant’s statement; withheld
       from the grand jury facts about that informant’s impairments,
       criminal history, and incentives; withheld from the grand jury
       a police report with evidence about the victim’s death that


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       contradicted the informant’s statement; withheld from the
       grand jury evidence that another person had been with the
       victim before his death; and procured a false identification by
       pointing out Green’s photo in the lineup to the informant, af‐
       ter the informant initially selected another person’s photo.
       These factual allegations echo those made in cases where a
       Fourteenth Amendment violation was stated. See Geter II, 882
       F.2d at 170 (denying summary judgment where officer
       “prodd[ed] the witnesses to select another picture when they
       had chosen incorrectly” and concealed exculpatory evidence);
       Good, 601 F.3d at 398‐400 (denying summary judgment where
       officer manipulated plaintiff’s photo in a lineup to produce a
       false identification); Burroughs v. City of Laurel, Miss., No. 2:19‐
       CV‐48‐KS‐MTP, 2019 WL 4228438, at *6‐7 (S.D. Miss. Sept. 5,
       2019) (denying motion to dismiss where officers allegedly
       “fabricated, misrepresented, and manipulated evidence and
       reports—including the intentional omission of exculpatory
       evidence—during their investigation and in their pursuit of
       an arrest warrant and indictment”). Given these cases,
       Green’s allegations and attached evidence plead a Fourteenth
       Amendment due process violation that caused an unlawful
       arrest and detention. See Docket No. 1‐1.
       Now for the wrinkle. In Cole I, the Fifth Circuit seemed to sug‐
       gest that Fourteenth Amendment claims based on evidence
       fabrication or withholding exculpatory evidence were limited
       to circumstances where the Fourth Amendment was “una‐
       vailing.” 802 F.3d at 772. It is therefore not entirely clear
       whether Green can maintain a Fourteenth Amendment claim,
       since he has viable Fourth Amendment avenues of relief.
       District courts have interpreted Cole I in different ways. Some
       have recognized a Fourteenth Amendment due process claim


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       for pretrial deprivation only when a Fourth Amendment
       claim was unavailable. See McLean v. Davis, No. 3:22‐CV‐33‐
       DPJ‐FKB, 2023 WL 1868192, at *4 (N.D. Miss. Feb. 9, 2023) (col‐
       lecting cases). Others have allowed Fourteenth Amendment
       due process claims to proceed alongside Fourth Amendment
       false arrest or malicious prosecution claims. See Thorpe v.
       WMS Gaming, Inc., No. 3:16‐CV‐147‐NBB‐RP, 2018 WL
       4621906, at *4‐5 (N.D. Miss. Sept. 26, 2018); Ducksworth v. City
       of Laurel, Miss., No. 2:20‐CV‐114‐KS‐MTP, 2021 WL 4504692,
       at *6‐8 (S.D. Miss. Oct. 1, 2021), appeal dismissed sub nom. Duck‐
       sworth v. Landrum, 62 F.4th 209 (5th Cir. 2023). Certainly, pre‐
       Cole I courts allowed the differing Constitutional claims to
       proceed to trial, noting no conflict between them. See Good,
       601 F.3d at 398‐402.
       This Court could not identify binding authority on how a dis‐
       trict court should address these legal theories at the motion to
       dismiss stage. As Chief Judge Jordan put it in McLean,
              Cole [I] never says dismissal [of the Fourteenth
              Amendment claim] is appropriate if the plaintiff
              fails to plead facts showing the Fourth Amend‐
              ment claim is unavailing. Instead, the court af‐
              firmed dismissal of the Fourth Amendment
              claim (because it failed to state a claim) and then
              allowed the Fourteenth Amendment claim to go
              forward because the Fourth Amendment claim
              was unavailing. The real question – and one Cole
              [I] does not address – is when a court must make
              that call.
       2023 WL 1868192, at *5.




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       McLean involved factual circumstances resembling our case.
       There, the plaintiff alleged that the defendant either intention‐
       ally fabricated an autopsy report or recklessly prepared it in
       a way that caused the plaintiff’s arrest and detention without
       probable cause, in violation of the Fourth and Fourteenth
       Amendments. Id. at *2. Chief Judge Jordan observed that Fed‐
       eral Rule of Civil Procedure 8 permits plaintiffs to set forth
       alternative theories of recovery. Id. at *5‐6. He further consid‐
       ered Morgan v. Chapman, a Fifth Circuit case which allowed a
       plaintiff to plead both a Fourth Amendment and a Fourteenth
       Amendment claim. Id. (citing 969 F.3d 238, 250 (5th Cir. 2020)).
       Given these authorities, Chief Judge Jordan let the plaintiff
       move forward. Id.
       Finding this reasoning persuasive, the Court concludes that
       Green can pursue alternative theories under the Fourth and
       Fourteenth Amendments.
                 D.      Independent Intermediary Doctrine
       Detective Thomas avers that the independent intermediary
       doctrine shelters her from liability on all of Green’s claims.27
       Docket No. 10 at 6‐9. Relying on Craig v. Dallas Area Rapid
       Transit Authority, 504 F. App’x 328 (5th Cir. 2012) and Buehler
       v. City of Austin/Austin Police Department, 824 F.3d 548 (5th Cir.
       2016), she argues that the complaint lacks specific allegations
       regarding what was improperly presented to or misled the
       grand jury. Id. at 6‐7. Green disagrees and illustrates various
       ways persons in this circuit overcame the insulation from




       27 Good v. Curtis applied (but expressly did not extend) the independent

       intermediary doctrine to Fourteenth Amendment claims. 601 F.3d at 400.


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       liability that results when an independent intermediary, such
       as a grand jury, finds probable cause. Docket No. 18 at 12.
       “Under the independent‐intermediary doctrine, if facts sup‐
       porting an arrest are placed before an independent interme‐
       diary such as a magistrate or grand jury, the intermediary’s
       decision breaks the chain of causation for the Fourth Amend‐
       ment violation.” Winfrey, 901 F.3d at 496 (cleaned up). The
       doctrine does not apply, however, “if it can be shown that the
       deliberations of that intermediary were in some way tainted
       by the actions of the defendant.” Caudra v. Hous. Indep. Sch.
       Dist., 626 F.3d 808, 813 (5th Cir. 2010) (cleaned up).28
       A law enforcement officer taints grand jury deliberations
       when she “withhold[s] any relevant information.” Hand v.
       Gary, 838 F.2d 1420, 1428 (5th Cir. 1988). “Any misdirection of
       the magistrate or the grand jury by omission or commission
       perpetuates the taint of the original official behavior.” Id.
       Plaintiffs in this situation must specifically allege that the of‐
       ficer “deliberately or recklessly provided false information to
       . . . the grand jury” or made “knowing and intentional omis‐
       sions that result in a warrant being issued without probable
       cause.” Anokwuru v. City of Hous., 990 F.3d 956, 964 (5th Cir.
       2021) (citations omitted). In Wilson v. Stroman, for example,
       plaintiffs sufficiently alleged “taint” when they stated that

       28 The independent intermediary doctrine is also the subject of criticism.

       One scholar argues that it “is not rooted in the history of civil rights law‐‐
       proximate cause is‐‐and therefore, is not a valid defense to a civil rights
       claim.” Amanda Peters, The Case for Replacing the Independent Intermediary
       Doctrine with Proximate Cause and Fourth Amendment Review in § 1983 Civil
       Rights Cases, 48 Pepp. L. Rev. 1, 5 (2021) (citation omitted). Professor Peters
       collects cases from across the country endeavoring to apply the doctrine,
       and from them concludes that “this area of law is a mess.” Id. at 8.


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       officials (1) made material omissions and misrepresentations
       to the grand jury, and (2) withheld from the grand jury video
       evidence that undermined probable cause. 33 F.4th 202, 212‐
       13 (5th Cir. 2022).29
       “At the pleading stage, mere allegations of taint may be ade‐
       quate to survive a motion to dismiss where the complaint al‐
       leges other facts supporting the inference.” Id. at 212 (cleaned
       up). The Fifth Circuit has explained its rationale in this way:
               Given that a general rule of secrecy shrouds the
               proceedings of grand juries, it is understanda‐
               bly difficult for a plaintiff to know what was
               said—or wasn’t said—to the grand jury absent
               any form of discovery. While that reality
               doesn’t excuse pleading requirements, it does
               mean that allegations about what was presented
               or omitted in the grand jury room will in some
               sense be speculative, which is why plaintiffs like
               the ones here will need to allege other facts sup‐
               porting the inference of what they allege to have
               occurred in the grand jury room.
       Id. (cleaned up); see also Mayhew, 2022 WL 3271087, at *10 n.7
       (“a plaintiff may not at the initial stage of the litigation be
       privy to the facts supporting the taint exception, particularly
       when it involves secret grand jury proceedings.”).




       29 Because there were nearly 100 plaintiffs in Wilson, the Fifth Circuit re‐

       manded the matter for the district court to determine which individual
       pleadings met this standard. 33 F.4th at 213.


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       Green satisfies this standard. Recall that his complaint specif‐
       ically alleges that Detective Thomas maliciously30 withheld
       from the grand jury facts about her jailhouse informant’s im‐
       pairments, criminal history, and circumstances; a police re‐
       port with evidence about the victim’s death that contradicted
       the informant’s statement; and evidence that another person
       had been with the victim before his death—all of which
       would have undermined probable cause. Had she provided
       the grand jury with “full and complete information,” Green
       alleges, he “would not have been indicted.” Docket No. 1 at 3.
       Green has more than allegations. As already discussed, the
       informant has sworn under oath that Detective Thomas pro‐
       cured a false identification by pointing to Green’s photo in the
       lineup, after the informant had initially selected another per‐
       son’s photo. Docket No. 1‐1. That evidence indicates that De‐
       tective Thomas intentionally and maliciously engaged in ob‐
       vious misconduct in her pursuit of Green. If the false identifi‐
       cation was secured prior to the grand jury’s consideration,
       moreover, Detective Thomas gave the independent interme‐
       diary testimony from a man she knew to be untruthful.
       To this, Detective Thomas advances the Fifth Circuit’s deci‐
       sions in Craig and Buehler. Neither case supports her point.
       In Craig, the plaintiff had been arrested and indicted for tam‐
       pering with evidence. 504 F. App’x at 331. After being acquit‐
       ted at trial, she brought false arrest and malicious prosecution
       claims against the officers, claiming a violation of the Fourth
       Amendment, the Fourteenth Amendment, and Texas law. Id.



       30 With this allegation, Green indicates that Detective Thomas’s conduct

       was, at a minimum, reckless.


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       Although Craig succeeded in her criminal case, her Ku Klux
       Klan Act suit failed. The Fifth Circuit assumed that the de‐
       fendants lacked probable cause to pursue her. Id. at 332. Even
       so, at the summary‐judgment stage, Craig lacked evidence
       that they had tainted the grand jury proceedings. Her asser‐
       tion that a defendant had a personal vendetta against her was
       nothing more than “conjecture.” Id.
       Craig might be more relevant to our case when we reach sum‐
       mary judgment. It does not, however, support the notion that
       Green has failed to state a claim of a tainted grand jury.
       Detective Thomas fares no better with Buehler. There, after re‐
       viewing the evidence put forth at the summary‐judgment
       stage, the trial and appellate courts found no proof that the
       defendants made “knowing misstatements or omissions” to
       the grand jury. 824 F.3d at 555. The grand jury had in fact
       heard from Buehler and other witnesses favorable to him, and
       still returned an indictment. Id. at 556. As with Craig, Buehler
       suggests waiting until the evidence is in before adjudicating
       this issue.
       This Court does not know the truth of Green’s claims. All we
       have are his allegations, one piece of material evidence, and a
       thin state‐court record of the criminal proceedings. At this
       early point in the litigation, though, the legal standard re‐
       quires this Court to take Green’s allegations as true and make
       reasonable factual inferences in his favor. See Iqbal, 556 U.S. at
       678. Under that standard, and consistent with the substantive
       law on this subject, Green has sufficiently alleged that Detec‐
       tive Thomas tainted the independent intermediary and
       caused his wrongful detention.




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           E.       The Constitutionality of Qualified Immunity
       If the Fifth Circuit disagrees and grants qualified immunity
       on any of these claims, Green advances an alternative argu‐
       ment for moving forward against Detective Thomas. He con‐
       tends that “the qualified immunity doctrine is unsound law”
       and a “misreading of the Civil Rights Act of 1871.”31 Docket
       No. 18 at 14‐15.
       This Court has written on this topic previously. See Jamison v.
       McClendon, 476 F. Supp. 3d 386 (S.D. Miss. 2020). So it should
       come as little surprise that the Court finds these arguments
       compelling.




       31 The argument is foreclosed by existing law, but Green must urge it here

       if he wishes to preserve his objection for appellate review.


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       Justices,32 judges,33 advocates,34 and scholars35 have long
       found fault with qualified immunity. Several of the more
       compelling critiques are summarized below.


       32 See Anderson v. Creighton, 483 U.S. 635, 668 (1987) (Stevens, J., dissenting)

       (criticizing the doctrine as “a double standard of reasonableness which
       unjustifiably and unnecessarily upsets the delicate balance between re‐
       spect for individual privacy and protection of the public servants who en‐
       force our laws”); Wyatt, 504 U.S. at 170 (Kennedy, J., concurring) (“In the
       context of qualified immunity . . . , we have diverged to a substantial de‐
       gree from the historical standards.”); Crawford‐El v. Britton, 523 U.S. 574,
       611 (1998) (Scalia, J., dissenting) (“our treatment of qualified immunity
       under 42 U.S.C. § 1983 has not purported to be faithful to the common‐
       law immunities that existed when § 1983 was enacted”); Ziglar v. Abbasi,
       582 U.S. 120, 159‐60 (2017) (Thomas, J., concurring in part) (“Our qualified
       immunity precedents instead represent precisely the sort of freewheeling
       policy choices that we have previously disclaimed the power to make. . . .
       In an appropriate case, we should reconsider our qualified immunity ju‐
       risprudence.”); Kisela v. Hughes, 584 U.S. 100, 121 (2018) (Sotomayor, J.,
       dissenting) (lamenting the Court’s “one‐sided approach to qualified im‐
       munity” that “tells officers that they can shoot first and think later, and . .
       . tells the public that palpably unreasonable conduct will go unpun‐
       ished”).
       33 See Zadeh v. Robinson, 928 F.3d 457, 474 (5th Cir. 2019) (Willett, J., con‐

       curring in part and dissenting in part) (“the judge‐made immunity regime
       ought not be immune from thoughtful reappraisal.”); Reich v. City of Eliz‐
       abethtown, Ky., 945 F.3d 968, 991 (6th Cir. 2019) (Moore, J., dissenting) (op‐
       posing holding “Fourth Amendment plaintiffs . . . to an impossibly high
       standard, where they must dredge up a mirror‐image case (that happened
       to arise in this circuit, and happened to result in a decision by this court)
       to have any hopes of surviving a qualified‐immunity challenge at sum‐
       mary judgment”); Horvath v. City of Leander, 946 F.3d 787, 801 (5th Cir.
       2020) (Ho, J., concurring in part and dissenting in part) (“[T]here is no
       textualist or originalist basis to support a ‘clearly established’ require‐
       ment in § 1983 cases.”); Estate of Jones, 961 F.3d at 673 (“Although we
       recognize that our police officers are often asked to make split‐second
       decisions, we expect them to do so with respect for the dignity and worth


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       of black lives.”); Stewart, 970 F.3d at 678 (Donald, J., concurring in part
       and dissenting in part) (describing a “seemingly endless struggle with
       applying the doctrine”); Cox v. Wilson, 971 F.3d 1159, 1165 (10th Cir.
       2020) (Lucero, J., dissenting from the denial of rehearing en banc) (“the
       profound issues with qualified immunity are recurring and worsening.
       . . . By continuing to await addressing deep and troubling qualified im‐
       munity issues brought to our attention time and again, we are complicit
       . . . .”); Sampson v. Cnty. of Los Angeles, 974 F.3d 1012, 1026 (9th Cir. 2020)
       (Hurwitz, J., concurring in part and dissenting in part) (“To be sure, the
       [Supreme] Court has reiterated that a prior case directly on point is not
       required, and that officials can still be on notice that their conduct vio‐
       lates established law even in novel factual circumstances. But much like
       Lucy of ‘Charlie Brown’ fame, the Court repeatedly yanks away the foot‐
       ball when lower courts attempt to apply this language.”); Jefferson v. Lias,
       21 F.4th 74, 93 (3d Cir. 2021) (McKee, J., concurring) (“The paradox that
       has evolved is that the perceived need to defer to the split‐second deci‐
       sions of trained professionals that is endemic to the jurisprudence in
       [qualified immunity] has failed to recognize the collective judgments of
       those very professionals and their administrative and governing agen‐
       cies.”); McKinney v. City of Middletown, 49 F.4th 730, 758 (2d Cir. 2022)
       (Calabresi, J., dissenting) (“The Supreme Court should do away with this
       ill‐founded, court‐made doctrine”); Manzanares v. Roosevelt Cnty. Adult
       Det. Ctr., 331 F. Supp. 3d 1260, 1293‐94 & n.10 (D.N.M. 2018) (“Factually
       identical or highly similar factual cases are not, however, the way the real
       world works. Cases differ. Many cases have so many facts that are un‐
       likely to ever occur again in a significantly similar way.”); Ventura v.
       Rutledge, 398 F. Supp. 3d 682, 697 n.6 (E.D. Cal. 2019) (“[T]his judge joins
       with those who have endorsed a complete re‐examination of the doctrine
       which, as it is currently applied, mandates illogical, unjust, and puzzling
       results in many cases.”); Estate of Smart v. Cty. of Wichita, No. 14‐2111‐JPO,
       2018 WL 3744063, at *18 n.174 (D. Kan. Aug. 7, 2018) (“[T]he court is trou‐
       bled by the continued march toward fully insulating police officers from
       trial—and thereby denying any relief to victims of excessive force—in
       contradiction to the plain language of the Fourth Amendment.”); Thomp‐
       son v. Clark, No. 14‐CV‐7349, 2018 WL 3128975, at *13 (E.D.N.Y. June 26,
       2018) (“Case precedent and policy rationale fail to justify an expansive
       regime of immunity that would prevent plaintiff from proving a serious


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       constitutional violation.”); Hon. Stephen R. Reinhardt, The Demise of Ha‐
       beas Corpus and the Rise of Qualified Immunity: The Court’s Ever Increasing
       Limitations on the Development and Enforcement of Constitutional Rights and
       Some Particularly Unfortunate Consequences, 113 Mich. L. Rev. 1219, 1244
       (2015) (criticizing “a series of decisions not compelled by statute or prec‐
       edent that has had the harmful, practical effect of limiting the ability of
       all persons to receive the protections of the Constitution.”); Hon. Jon O.
       Newman, Here’s a better way to punish the police: Sue them for money, Wash.
       Post (June 23, 2016) (“the defense of qualified immunity should be abol‐
       ished”); Hon. Lynn Adelman, The Supreme Court’s Quiet Assault on Civil
       Rights, Dissent (Fall 2017) (“The fact is that there is no persuasive legal
       basis for the doctrine.”); Hon. James A. Wynn, Jr., As a judge, I have to follow
       the Supreme Court. It should fix this mistake, Wash. Post (June 12, 2020)
       (“Eliminating the defense of qualified immunity would improve our ad‐
       ministration of justice and promote the public’s confidence and trust in
       the integrity of the judicial system.”).
       34 See, e.g., Brief of Cross‐Ideological Groups Dedicated to Ensuring Offi‐

       cial Accountability, Restoring the Public’s Trust in Law Enforcement, and
       Promoting the Rule of Law as Amici Curiae in Support of Petitioner, Bax‐
       ter v. Bracey, 140 S. Ct. 1862 (2020) (No. 18‐1287) 2019 WL 2370285 (ad‐
       vancing arguments of the American Association for Justice, Americans for
       Prosperity, Due Process Institute, Law Enforcement Action Partnership,
       Roderick & Solange Mac Arthur Justice Center, NAACP Legal Defense &
       Educational Fund, Inc., National Association of Criminal Defense Law‐
       yers, Public Justice, R Street Institute, and Reason Foundation); Jay
       Schweikert, Qualified Immunity: A Legal, Practical, and Moral Failure, Cato
       Inst. (Sept. 14, 2020); Ed Yohnka et al., Ending Qualified Immunity Once and
       For All is the Next Step in Holding Police Accountable, Am. Civ. Lib. Union
       (Mar. 23, 2021).
       35 See, e.g., Joanna C. Schwartz, How Qualified Immunity Fails, 127 Yale L.J.

       2, 14 (2017); Baude, 106 Calif. L. Rev. at 45; Joanna C. Schwartz, The Case
       Against Qualified Immunity, 93 Notre Dame L. Rev. 1797 (2018); Karen M.
       Blum, Qualified Immunity: Time to Change the Message, 93 Notre Dame L.
       Rev. 1887 (2018); Joanna C. Schwartz, Qualified Immunity’s Boldest Lie, 88
       U. Chic. L. Rev. 605 (2021); Enright & Geary, 13 Geo. J. of L. & Mod. Critical
       Race Persps. at 135; Nyla Knox, Qualified Immunity: Rectifying A


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                           1.       The Textual Problem
       “Congress alone has the institutional competence, democratic
       legitimacy, and (most importantly) constitutional authority to
       revise statutes in light of new social problems and prefer‐
       ences.” Wis. Cent. Ltd. v. United States, 585 U.S. 274, 284 (2018).
       In 1871, Congress exercised this authority—confronting the
       persistent problem of violent white supremacy—when it
       passed into law the Ku Klux Klan Act.
       Qualified immunity, however, does not appear in the text of
       the Ku Klux Klan Act. It is not found in any Constitutional
       provision or other statute. Nor does it “help give . . . life and
       substance” to the “specific guarantees in the Bill of Rights.”
       Griswold v. Connecticut, 381 U.S. 479, 484 (1965) (citation omit‐
       ted). The defense has the opposite effect. It nullifies the guar‐
       antees of the Bill of Rights.
       The doctrine’s components are similarly untethered to any
       authority. Justice Thomas has observed several times that the
       clearly established test “cannot be located in § 1983’s text.”
       Hoggard v. Rhodes, 141 S. Ct. 2421, 2421 (2021) (Thomas, J., re‐
       specting the denial of certiorari). An officer’s right to immedi‐
       ately appeal the denial of qualified immunity was invented in
       1985. See Mitchell v. Forsyth, 472 U.S. 511, 527 (1985). And the
       requirement that “existing precedent must have placed the
       statutory or constitutional question beyond debate”? The



       Detrimental Doctrine, 53 Ariz. St. L.J. 945 (2021); Fred O. Smith, Jr., Beyond
       Qualified Immunity, 119 Mich. L. Rev. Online 121, 123 (2021); Wright et al.,
       126 Dickinson L. Rev. at 717; Teressa Ravenell, Unincorporating Qualified
       Immunity, 53 Loy. U. Chi. L.J. 371 (2022); see also Joanna Schwartz,
       Shielded: How the Police Became Untouchable (2023).


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       Supreme Court came up with that in 2011. Ashcroft v. al‐Kidd,
       563 U.S. 731, 741 (2011).
       Not long ago, a plaintiff could satisfy the clearly established
       requirement by pointing to “a consensus of cases of persua‐
       sive authority.” Wilson v. Layne, 526 U.S. 603, 617 (1999). Al‐
       Kidd changed that too. It required plaintiffs to identify a “ro‐
       bust” consensus of cases clearly establishing the law. 563 U.S.
       at 742. Today, it is not clear that a robust consensus is enough.
       The Supreme Court has suggested that only its precedent can
       establish the law. See District of Columbia v. Wesby, 138 S. Ct.
       577, 591 n.8 (2018).36
       Governments “deriv[e] their just powers from the consent of
       the governed.” The Declaration of Independence para. 2 (U.S.
       1776). But the People never enshrined qualified immunity in
       the Constitution. Our representatives in Congress never put
       it into the statute or voted for it. No President signed it into
       law. If anything, it represents a kind of “trickle‐down” demo‐
       cratic legitimacy.
       Some might say that every legal doctrine has this flaw. It is a
       fair point, so we should be precise about the critique.
       Legal doctrines fall upon a spectrum of democratic legiti‐
       macy, rather than a binary. Some try to implement statutes


       36 Professor Davidson spots another slight‐of‐hand in al‐Kidd. He observes

       that “the Court altered the test from . . . ‘a reasonable official would un‐
       derstand that what he is doing violates that clearly established right’ to
       ‘every reasonable official would have understood that what he is doing
       violates that right.’ Though the Court did not explain this alteration, later
       opinions have picked up on al‐Kidd’s modification.” Adam A. Davidson,
       Procedural Losses and the Pyrrhic Victory of Abolishing Qualified Immunity, 99
       Wash. U.L. Rev. 1459, 1471 (2022) (cleaned up).


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       even‐handedly. See In re Volkswagen of Am., Inc., 545 F.3d 304,
       313‐15 (5th Cir. 2008) (en banc) (reconciling the public‐ and
       private‐interest factors of forum non conveniens with 28 U.S.C.
       § 1404(a)). Others seek to promote democratic values: absten‐
       tion promotes federalism, prudential standing is meant to en‐
       force Article III of the Constitution, and so on.
       Qualified immunity is different. It adjudicates cases—it ends
       them—rather than channel them into a better forum brought
       by parties with a more concrete stake in the outcome. It is so
       removed from the democratic process that it merits the most
       stringent scrutiny.
       Legal doctrines have a role in the judiciary. As the Supreme
       Court has recognized in another doctrinal context, though,
       they should not be imposed at the cost of “shirking the solemn
       responsibility of the federal courts to guard, enforce, and pro‐
       tect every right granted or secured by the constitution of the
       United States.” Kusper v. Pontikes, 414 U.S. 51, 55 (1973).37 It is
       difficult to see how qualified immunity survives that logic.
                      2.       The Counter‐textual Problem
       One of Green’s more interesting arguments against qualified
       immunity lies at the intersection of the statute’s textual and
       historical critiques.
       Green points to new research suggesting that when Congress
       enacted the Ku Klux Klan Act, it “adopted explicit text that
       displaced common law defenses,” making clear “that such a
       claim would be viable notwithstanding ‘any such law, statute,


       37 For an important discussion of abstention’s role in enforcing constitu‐

       tional rights, see Fred O. Smith, Jr., Abstention in the Time of Ferguson, 131
       Harv. L. Rev. 2283 (2018).


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       ordinance, regulation, custom, or usage of the State to the con‐
       trary.’” Alexander A. Reinert, Qualified Immunityʹs Flawed
       Foundation, 111 Calif. L. Rev. 201, 207 (2023) (quoting An Act
       to Enforce the Provisions of the Fourteenth Amendment to
       the Constitution of the United States, and for Other Purposes,
       17 Stat. 13 (1871)). Professor Reinert says a government offi‐
       cial omitted this text when he “published the first compilation
       of federal law in 1874.” Id. If this is true, we’ve all been apply‐
       ing the wrong version of the statute.
       Federal judges have taken note. In Rogers v. Jarrett, Judge Wil‐
       lett described this line of attack as a “game‐changing argu‐
       ment[] . . . in this text‐centric judicial era when jurists profess
       unswerving fidelity to the words Congress chose.” 63 F.4th
       971, 980 (5th Cir. 2023) (Willett, J., concurring). If Professor
       Reinert is correct, he added, it would “supercharge[] the cri‐
       tique that modern immunity jurisprudence is not just atextual
       but countertextual. That is, the doctrine does not merely com‐
       plement the text—it brazenly contradicts it.” Id. at 980‐81.38
       No decisive judgment has been returned on this line of in‐
       quiry. Hopefully the academic community will continue to in‐
       vestigate.
       As we wait, it remains true that qualified immunity is the law
       of the land and commands respect under stare decisis. If the
       Supreme Court follows its most recent jurisprudence on that
       subject, though, qualified immunity might be with us for but
       a short time. The next section explains why.


       38 Judges Dennis, Elrod, Graves, Higginson, Ho, and Douglas have also

       noted Professor Reinert’s arguments. See Villarreal v. City of Laredo, Tex., 94
       F.4th 374, 408 n.14 (5th Cir. 2024); Jimerson v. Lewis, 94 F.4th 423, 431 (5th
       Cir. 2024).


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                            3.       The Dobbs Dilemma
       In 2022, the Supreme Court upended 50 years of precedent
       and eliminated the Constitutional right to a pre‐viability abor‐
       tion. Dobbs, 597 U.S. at 215. Its reasoning in that case supports
       upending existing law here.
       Opponents of qualified immunity advance many of the same
       kinds of arguments that opponents of abortion used. In both
       instances, the primary complaint was that the Supreme Court
       had disregarded authoritative texts and used “raw judicial
       power” to balance implied rights and interests. Id. at 268; see
       Pierson, 386 U.S. at 555. Opponents complained that the high
       Court “short‐circuited the democratic process” and “neces‐
       sarily declared a winning side” in a long‐running social con‐
       troversy. Dobbs, 597 U.S. at 269.
       The arguments against qualified immunity are stronger than
       the arguments Petitioners presented in Dobbs. The People
       themselves already expressed the standards they expect of
       law enforcement when they ratified the Fourth Amendment
       and passed the Ku Klux Klan Act into law. “The very enumer‐
       ation of the [constitutional] right takes out of the hands of
       government—even the Third Branch of Government—the
       power to decide on a case‐by‐case basis whether the right is
       really worth insisting upon.” District of Columbia v. Heller, 554
       U.S. 570, 634 (2008).39 So it should be an easier leap of logic—


       39 This Court is fond of using this language in Second Amendment cases.

       See McDonald v. City of Chicago, Ill., 561 U.S. 742, 791 (2010); N.Y. State Rifle
       & Pistol Assoc., Inc. v. Bruen, 597 U.S. 1, 23 (2022). Surely this principle has
       validity in other Constitutional cases, too. But to date, only Justice Thomas
       has wielded this language outside of Second Amendment cases. See Luis
       v. United States, 578 U.S. 5, 33 (2016) (Thomas, J., concurring).


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       and lesser expenditure of political capital—to conclude that
       qualified immunity “was egregiously wrong on the day it was
       decided.” Dobbs, 597 U.S. at 268 (cleaned up).
       One might argue that law enforcement officers are entitled to
       keep qualified immunity because they have planned their
       livelihoods around its existence. See, e.g., Caroline Goggin,
       NH police department under fire for listing ‘qualified immunity’ as
       job perk in recruitment post, WHDH.com (Aug. 4, 2021). Judges
       and lawyers call this a “reliance interest.” One judge has ar‐
       gued that because revisiting qualified immunity “would have
       significant consequences for state and local governments, . . .
       reliance interests recommend adherence to stare decisis.”
       McKinney v. City of Middletown, 49 F.4th 730, 748 (2d Cir. 2022).
       It was strange to see that argument after the Supreme Court’s
       abortion decision, though, because Dobbs rejected precisely
       that kind of vague, “generalized assertion[] about the national
       psyche.” 597 U.S. at 288. The Court instead thought voters
       should resolve reliance interests, not judges. After all, just like
       women, law enforcement officers and their unions “are not
       without electoral or political power,”40 and may “seek to




       40 All understand the power and influence of the police. See Benjamin

       Levin, What’s Wrong with Police Unions?, 120 Colum. L. Rev. 1333 (2020);
       Noam Scheiber et al., How Police Unions Became Such Powerful Opponents to
       Reform Efforts, N.Y. Times (June 6, 2020); Sam Blum, Police Unions Wield
       Massive Power in American Politics—For Now, Rolling Stone (July 7, 2020);
       Ross Barkan, How Did Police Unions Get So Powerful?, The Nation (July 2,
       2020).


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       affect the legislative process by influencing public opinion,
       lobbying legislators, voting, and running for office.” Id. at
       288.41,42
       Dobbs also reflects the Supreme Court’s desire to remove itself
       from the center of a hot‐button issue and return it to the elec‐
       toral process. As one Justice remarked at oral argument in that


       41 It was just a few years ago that the Justices told us that “[t]he fact that

       public‐sector unions may view” a constitutional decision “as an entitle‐
       ment does not establish the sort of reliance interest that could outweigh
       the countervailing interest that nonmembers share in having their consti‐
       tutional rights fully protected.” Janus v. Am. Fed’n of State, Cnty., & Mun.
       Emps., Council 31, 585 U.S. 878, 927 (2018) (cleaned up).
       42 Defenders of the status quo are then left to argue that “[s]tare decisis

       ‘carries enhanced force’ when, as in the case of qualified immunity under
       § 1983, the relevant precedent ‘interprets a statute.’” McKinney, 49 F.4th at
       748 (quoting Kimble v. Marvel Ent., LLC, 576 U.S. 446, 456 (2015)). But that
       doesn’t go very far in a post‐Dobbs world.
       It is true that when the Court misinterprets a statute, Congress can step in
       and clarify the law. E.g., Ledbetter v. Goodyear Tire & Rubber Co., 550 U.S.
       618 (2007), overturned by The Lilly Ledbetter Fair Pay Act of 2009, Pub. L.
       No. 111‐2 (Jan. 29, 2009). Congress would be well within its rights to clarify
       or abolish qualified immunity.
       The same fundamental principle was at stake in Dobbs, though. There, the
       Court could have deferred to the democratic process and let the voters
       overrule, amend, or expand Roe v. Wade through the passage of a Consti‐
       tutional amendment. The Court nevertheless elected to fix its perceived
       mistake and overrule its interpretation of the law.
       The point is this: the availability of a democratic remedy for qualified im‐
       munity doesn’t stop the Supreme Court from taking responsibility for the
       problem it created. As Justice Thomas has written, “when we err in areas
       of judge‐made law, we ought to presume that Congress expects us to cor‐
       rect our own mistakes—not the other way around.” Halliburton Co. v. Erica
       P. John Fund, Inc., 573 U.S. 258, 298 (2014) (Thomas, J., concurring).


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       case, when the Constitution is silent on such important inter‐
       ests, “why should this Court be the arbiter rather than Con‐
       gress, the state legislatures, state supreme courts, the people
       being able to resolve this?” Transcript of Oral Argument at
       107, Dobbs v. Jackson Women’s Health Org., 597 U.S. 215
       (2022) (No. 19‐1392) (Kavanaugh, J.).
       There is a certain appeal to this. Since the early 1970s, the Su‐
       preme Court issued more than 100 decisions referencing Roe
       v. Wade. Maybe that amount of controversy on issues of life
       and death, where passions run high, was too much for any
       person or institution to bear.
       Over that same period of time, though, the Supreme Court
       has issued more than 200 decisions referencing qualified im‐
       munity. Many of those cases are also about life and death. See
       Mullenix, 577 U.S. at 9. Yet it has not yet seen fit to return this
       contested issue to the democratic process. It is not clear why.43
       To all this, a layperson might wonder how such a shaky doc‐
       trine can be maintained. The next section will discuss the Jus‐
       tices’ own explanations.
                         4.      The Policy Justifications
       The Supreme Court says qualified immunity exists to protect
       government officials from “the expenses of litigation, the di‐
       version of official energy from pressing public issues, and the

       43 The current Court is certainly not shy about overruling precedent. “In

       2018, Janus v. AFSCME overruled Abood v. Detroit Board of Education, 431
       U.S. 209 (1977); in 2019, Knick v. Township of Scott overruled Williamson
       County v. Hamilton Bank, 473 U.S. 172 (1985); and in 2020, Ramos v. Louisi‐
       ana overruled Apodaca v. Oregon, 406 U.S. 404 (1972).” Jamison, 476 F. Supp.
       3d at 420. The category seems to grow every year. See Students for Fair Ad‐
       missions, Inc. v. President & Fellows of Harvard Coll., 600 U.S. 181 (2023).


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       deterrence of able citizens from acceptance of public office.”
       Harlow v. Fitzgerald, 457 U.S. 800, 814 (1982). “[E]ven such pre‐
       trial matters as discovery are to be avoided if possible, as in‐
       quiries of this kind can be peculiarly disruptive of effective
       government.” Mitchell, 472 U.S. at 526 (cleaned up).
       Pause for a moment to observe how aberrant these justifica‐
       tions are. Emergency room physicians are critical in a real life‐
       or‐death sense. But when they are sued for negligence, we
       take for granted that they will have to respond and, perhaps,
       be subjected to discovery about their actions. The economy
       relies on banks to preserve, grow, and allocate resources. In
       the event a bank engages in fraud or facilitates a Ponzi
       scheme, though, its victims can come to court and ask to be
       made whole.
       The same is true for just about every realm of life. The judicial
       process is how our democracy provides “tribunals for the
       peaceful resolution of all manner of disputes.” Chief Justice
       John G. Roberts, Jr., 2015 Year‐End Report on the Federal Ju‐
       diciary at 2 (emphasis added). So it is odd for the judicial pro‐
       cess to privilege government over every other industry. It’s
       important to keep the public sector functioning, to be sure,
       but we also need functional hospitals, utilities, financial insti‐
       tutions, and supply chains. And in all of those systems, we
       accept the costs and distractions of litigation as necessary con‐
       sequences of a fair dispute resolution system.
       The Supreme Court nevertheless assumes that qualified im‐
       munity is necessary to privilege government operations over
       non‐government operations. Yet little to no evidence sup‐
       ports the assumption.




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       Professor Schwartz’s research indicates that “qualified im‐
       munity is not achieving its policy objectives” and “may, in
       fact, increase the costs and delays associated with constitu‐
       tional litigation.” Joanna C. Schwartz, How Qualified Immunity
       Fails, 127 Yale L.J. 2, 11 (2017). One of her more galling find‐
       ings reveals that officers are trained on “broad principles”—
       not the specific “factual scenarios” that appellate judges then
       insist were necessary predicates to liability. Joanna C.
       Schwartz, Qualified Immunityʹs Boldest Lie, 88 U. Chi. L. Rev.
       605, 610 (2021). “Officers could never learn the facts and hold‐
       ings of the hundreds or thousands of cases that clearly estab‐
       lish the law and, even if they learned about some of these
       cases, they would not reliably recall their facts and holdings
       while doing their jobs.” Id. at 612. And the notion that a gov‐
       ernment employee will change their behavior out of fear of
       personal liability is not borne out by the evidence. Police of‐
       ficers are not held financially responsible for the vast majority
       of settlements and judgments against them. Joanna C.
       Schwartz, The Case Against Qualified Immunity, 93 Notre Dame
       L. Rev. 1797, 1806 (2018).
       At the end of the day, the Court’s policy‐based defense of
       qualified immunity is simply a choice to privilege govern‐
       ment officials over all others. The justifications are less than
       persuasive.
                    5.      The Criminal Law Parallels
       Our legal system believes that “no man shall be held crimi‐
       nally responsible for conduct which he could not reasonably
       understand to be proscribed.” Bouie v. City of Columbia, 378
       U.S. 347, 351 (1964) (quotation marks and citation omitted).
       We do not incarcerate a person unless a statute gives them



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       “fair warning” that a course of conduct is criminal. Rogers v.
       Tennessee, 532 U.S. 451, 457 (2001).
       Qualified immunity is similar. The Supreme Court once ad‐
       mitted that “the ‘clearly established’ immunity standard . . . is
       simply the adaptation of the fair warning standard to give of‐
       ficials (and, ultimately, governments) the same protection
       from civil liability and its consequences that individuals have
       traditionally possessed in the face of vague criminal statutes.”
       United States v. Lanier, 520 U.S. 259, 270‐71 (1997).
       Unfortunately, this reasoning reveals just how confused this
       doctrine is.
       Criminal liability is supposed to be the most difficult form of
       accountability. That’s because a criminal conviction results in
       loss of liberty—imprisonment—while civil liability results
       only in a transfer of money. Indeed, it’s supposed to be harder
       to prove a violation of criminal law than it is to prove a civil
       claim. The Constitution protects you from criminal conviction
       unless there is proof beyond a reasonable doubt of every fact nec‐
       essary to constitute the crime. In re Winship, 397 U.S. 358, 364
       (1970); see Mullaney v. Wilbur, 421 U.S. 684, 701 (1975). In con‐
       trast, a civil judgment requires proof by only a preponderance
       of the evidence.
       Given these distinctions, you can see that the Supreme Court
       never should have equated qualified immunity with criminal
       law. They are wholly different creatures.
       But there is something else important going on. It concerns
       the level of generality at which the law holds people account‐
       able.
       In a criminal case, the government can convict and send you
       to prison even if no one had ever committed that crime in


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       quite the same way before. The prosecutor doesn’t have to
       prove that the unlawfulness of your conduct was “beyond de‐
       bate.” You can lose your liberty for new and creative kinds of
       criming.44 See Lanier, 520 U.S. at 268. Courts reject defendants’
       demands for advance notice of whether something is unlaw‐
       ful, because “it would not have been possible or practical for
       Congress to outline each of the many possible ways that a per‐
       son might” commit a crime. United States v. McCoy, 539 F.2d
       1050, 1058 & n.8 (5th Cir. 1976).
       It’s easy to see why. Society evolves, grows, changes. It makes
       sense for Congress to criminalize fraud no matter whether it’s
       conducted via the Pony Express or Bitcoin. People are held
       accountable for violating a general principle: don’t defraud oth‐
       ers.
       Qualified immunity turns this on its head. Under the doctrine,
       because “the clearly established law must be ‘particularized’
       to the facts,” we argue about whether precedent placed the
       unlawfulness of the officer’s specific factual scenario “beyond
       debate.” White v. Pauly, 580 U.S. 73, 79 (2017) (quotation marks
       and citation omitted). Time and time again, the Justices re‐
       verse lower courts for “fail[ing] to identify a case where an
       officer acting under similar circumstances as [the defendant]
       was held to have violated the Fourth Amendment.” Id. The
       result is a world where courts let prison officials get away
       with putting someone in a feces‐covered cell for six days, ra‐
       ther than hold them accountable for violating the general
       principle: don’t make people sleep in other people’s feces.


       44 Merriam‐Webster, Words We’re Watching: ‘Criming’, https://www.mer‐

       riam‐webster.com/wordplay/words‐were‐watching‐criming‐verb      (last
       visited May 13, 2024).


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       Consistency suggests that one of these two systems must
       change. If we value liberty as much as we say we do, perhaps
       the criminal law should refuse to convict someone unless the
       unlawfulness of their “particularized” conduct had already
       been held to be “beyond debate” at the time they acted. Id. Or,
       if it is qualified immunity to yield, we should define Consti‐
       tutional rights at a higher level of generality, recognizing that
       we will never be able “to outline each of the many possible
       ways that a person might be said to” violate the Constitution.
       McCoy, 539 F.2d at 1058 n.8. But the two systems cannot coex‐
       ist with any honesty. It cannot be true that in America, it is eas‐
       ier to take away one’s liberty than hold the government ac‐
       countable for violating the very Constitution guaranteeing
       that liberty.
                      6.      A More Democratic Vision45
       This Judge has no say in the adjustment or abolition of quali‐
       fied immunity. But having devoted several pages to critiqu‐
       ing the doctrine, I do feel some responsibility to spell out the
       principles I believe should guide any changes.
       “We the People” elect the President—through the electoral
       college—every four years. We the People elect our Senators
       every six years and our Representatives every two years.
       And, although We the People don’t vote on federal judges, we
       nevertheless exercise vast power in the judicial branch every
       day, through jury service.
       Jurors are judges of the facts. They decide what happened,
       who’s responsible, and whether there will be consequences.

       45 To be crystal clear, “democratic” here means small‐d democracy, not the

       political party. The above footnotes show in detail the cross‐ideological
       nature of the calls for qualified immunity reform.


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       They decide who to believe a little bit and who not to believe
       at all. They weigh evidence by the preponderance standard, the
       clear and convincing standard, and the beyond a reasonable doubt
       standard. Juries decide damages awards in civil cases from
       car wrecks to discrimination claims to billion‐dollar intellec‐
       tual property disputes. They decide guilt and innocence in
       criminal cases. Sometimes they even “express the conscience
       of the community on the ultimate question of life or death.”
       Witherspoon v. Illinois, 391 U.S. 510, 519 (1968).
       To say that the judiciary is “undemocratic,” then, is not the
       full story. The People enshrined in the Constitution the pow‐
       ers they would wield in the Third Branch.46 Article III pro‐
       vides that “all crimes” shall be tried “by jury.” The Sixth
       Amendment guarantees criminal defendants “the right to a
       speedy and public trial, by an impartial jury of the State and
       district wherein the crime shall have been committed.” And
       the Seventh Amendment declares that all common law claims
       exceeding $20 must be decided by a jury.47 The power is
       simply exercised one dispute at a time, day after day, rather
       than on fixed election days.48


       46 Note that while some amendments limit the power of judges, those lim‐

       itations are not placed on juries. Akhil Reed Amar, The Bill of Rights as a
       Constitution, 100 Yale L.J. 1131, 1190 (1991).
       47 The Seventh Amendment also applies “to actions enforcing statutory

       rights, and requires a jury trial upon demand, if the statute creates legal
       rights and remedies, enforceable in an action for damages in the ordinary
       courts of law.” Curtis v. Loether, 415 U.S. 189, 194 (1974).
       48 The role of the jury should not be surprising. Revolutionary Americans

       so objected to colonial administrators’ “use of judge‐tried cases to circum‐
       vent the right of civil jury trial” that all 13 original states provided for civil
       jury trials. Charles W. Wolfram, The Constitutional History of the Seventh


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       Judicial supremacy has too‐often deprived the People of their
       proper role in deciding constitutional torts brought under the
       Ku Klux Klan Act. The doctrine of qualified immunity, as cur‐
       rently constructed, mistakenly lets judges quibble endlessly
       over whether a constitutional violation was “clearly estab‐
       lished,” “beyond debate,” or “obvious.”49 All of this frustrates
       resolution by the People. The doctrine also errs in giving de‐
       fendants unusual rights to take immediate appeals. These ap‐
       peals not only deprive victims of their right to pursue evi‐
       dence in the government’s possession, but they allow more
       judges to perpetuate the tedious legal debate. It should not
       have taken more than seven years for Mr. Taylor—the Texas
       man housed in excrement—to secure judicial permission to
       take discovery from prison officials. But it did.
       This area of law reflects a deep distrust of ordinary people.
       “The founders of our Nation considered the right of trial by
       jury in civil cases an important bulwark against tyranny and
       corruption, a safeguard too precious to be left to the whim of
       the sovereign, or, it might be added, to that of the judiciary.” Park‐
       lane Hosiery Co. v. Shore, 439 U.S. 322, 343 (1979) (Rehnquist, J.,
       dissenting) (emphasis added). Today, though, federal judges

       Amendment, 57 Minn. L. Rev. 639, 654‐55 (1973). “[T]he nascent American
       nation demonstrated at virtually every important step in its development
       that trial by jury was the form of trial in civil cases to which people and
       their politicians were strongly attached.” Id. at 656.
       49 As this Opinion was going to press, the Fifth Circuit released a decision

       denying qualified immunity to police officers who engaged in “obvi‐
       ously” unconstitutional acts. Hughes, 2024 WL 1952868, at *1. The decision
       is commendable. Among other things, it collects Supreme Court cases to
       articulate “a simple, clearly established rule that all officers should know
       at all times . . . : Do not lie.” Id. at *6 n.1. Whether this holding will survive
       en banc review or a Supreme Court petition is unknown.


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       “are increasingly willing to take ostensibly speculative or im‐
       plausible claims from the jury by granting summary judg‐
       ment in complex actions, actions turning on state of mind, or
       in cases involving concealed wrongdoing—a trend that has
       far‐reaching tentacles.” Andrew S. Pollis, The Death of Infer‐
       ence, 55 B.C. L. Rev. 435, 454 (2014) (cleaned up). This simply
       need not be.
       This Court has seated juries for quite a few years now. They
       pay close attention to the facts. Wanting to follow the law,
       they ask questions about the substantive legal instructions
       they receive. Their deliberations take time, which can be ago‐
       nizing, but we wait because it is the fairest way to settle our
       disputes. And regardless of whether a judge agrees with the
       verdict, in our democracy it is the jury’s decision to make. In
       the same way we trust the collective judgment of voters in
       elections, we must trust the judgment of jurors in deciding
       cases.
       Law enforcement cases are no different. I have seated juries
       that have found for and against law enforcement officers. The
       jurors know the difference between those acting properly and
       those violating others’ rights. Their work confirms that when
       it comes to fact‐finding, “anything a judge can do a jury can
       do better.” Marchan v. John Miller Farms, Inc., 352 F. Supp. 3d
       938, 947 (D.N.D. 2018). “It takes a special type of arrogance
       simply to conclude that American jurors cannot.” Id.
       In Ku Klux Klan Act cases, as elsewhere, all we need to do is
       tell jurors the truth. We should tell jurors that law enforce‐
       ment officers must sometimes “make split‐second judg‐
       ments—in circumstances that are tense, uncertain, and rap‐
       idly evolving.” Graham v. Connor, 490 U.S. 386, 397 (1989). We
       all know that. We should also tell jurors that officials who


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       engage in a pattern of misconduct or act in a “calculated fash‐
       ion” despite “months to consult legal counsel” are entitled to
       less deference. Villarreal v. City of Laredo, Tex., 94 F.4th 374, 408
       (5th Cir. 2024) (Willett, J., dissenting). It’s just common sense.
       We should instruct jurors that federal law gives people the
       right to be free “from unconstitutional action under color of
       state law, whether that action be executive, legislative, or ju‐
       dicial.” Mitchum, 407 U.S. at 242. At the same time, we should
       instruct them that unnecessary suits against public officers
       run the risk of diverting “energy from pressing public issues”
       and deterring “able citizens from acceptance of public office.”
       Harlow, 457 U.S. at 814.
       These principles are in tension. It is true. The Constitution is
       full of those tensions. Its authors in one breath declared all
       men to be created equal, and in the other calculated a slave to
       be worth three‐fifths of a white person. Contradiction is in
       America’s DNA.
       The judiciary should permit the People to resolve those ten‐
       sions and contradictions case by case, as the evidence dictates.
       Only with that democratic participation will we “reinforce[] a
       fundamental belief . . . that we are all created equal and as‐
       sure[] citizens that in our society even the powerful and
       wealthy are subject to the scrutiny of average citizens.” Hon.
       Kathleen M. O’Malley, Trial by Jury: Why It Works and Why It
       Matters, 68 Am. U. L. Rev. 1095, 1109 (2019).
                              V.      Conclusion
       Desmond Green has suffered two injustices. The judiciary
       should not impose a third. If qualified immunity would do
       that, closing the courthouse doors to his claims, then the doc‐
       trine should come to its overdue end.


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       The motion to dismiss is denied. This case is stayed so that
       Detective Thomas can exercise her right to an immediate in‐
       terlocutory appeal. If she declines to timely appeal, the case
       will proceed into discovery as to this defendant.
       SO ORDERED, this the 20th day of May, 2024.
                                             s/ CARLTON W. REEVES
                                          United States District Judge




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